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   EXHIBIT 1
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July 8, 2022                                                                             Sonal N. Mehta
                                                                                        +1 650 600 5051 (t)
By E-mail                                                                               +1 650 858 6100 (f)
                                                                               sonal.mehta@wilmerhale.com


John M. Pierce
jpierce@johnpiercelaw.com
21550 Oxnard St., 3rd Fl PMB 172
Woodland Hills, CA 91367

Bob Barr
Bob@bobbarr.org
Brannon Burroughs
Brannon@bobbarr.org
2120 Powers Ferry Road, Suite 125
Atlanta, GA 30339

Re:    Loomer et al. v. Facebook, Inc., et al., No. 3:22-02646-LB (N.D. Cal.)

Dear Mr. Pierce and Mr. Barr,

        We write on behalf of Meta Platforms, Inc. (“Meta”; formerly Facebook, Inc.) and Mark
Zuckerberg regarding the above-captioned matter. We have carefully considered your complaint
asserting that actions taken by Meta and Mr. Zuckerberg, including the suspension of Ms.
Loomer’s account for violations of Facebook’s Community Standards, violated the Racketeer
Influenced and Corrupt Organizations (“RICO”) Act of 1970. Our review of your complaint
raises serious concerns about the validity of your claims, which at their core rehash the same
grievances that Ms. Loomer has already taken to court—and lost or voluntarily dismissed—on
multiple prior occasions. Put simply, it appears that there is not a good-faith basis to proceed
with this suit.

         First, the complaint is just the most recent in a string of baseless lawsuits brought by Ms.
Loomer against Meta, all arising out of Facebook’s decision to suspend her account. Over three
years ago, she sued Facebook in the District of Columbia, challenging its decision to ban her
account for 30 days. Am. Compl. ¶ 69, Freedom Watch, Inc. et al. v. Google, Inc. et al., No.
1:18-cv-02030-TNM (D.D.C. Dec. 6, 2018), ECF No. 27. That case was dismissed for failure to
state a claim. Freedom Watch, Inc. v. Google, Inc., 368 F. Supp. 3d 30, 34 (D.D.C. Mar. 14,
2019), aff’d, 816 F. App’x 497, 500-01 (D.C. Cir. 2020). Just four months after the D.C. district
court dismissed the case, Ms. Loomer filed an action in the Southern District of Florida, again
challenging Facebook’s decision to ban her from its platform. Complaint ¶ 5, Loomer v.
Facebook, Inc., No. 9:19-cv-80893-RS (S.D. Fla. July 8, 2019), ECF No. 1. Just hours after that
court denied Ms. Loomer’s motion for an extension of discovery, Ms. Loomer filed a nearly
identical complaint against Facebook in Florida state court. See Loomer v. Facebook, Inc., Case
No. 50-2020-CA-002352-XXXX-MB (Fla. 15th Cir. Ct. 2020). Facebook removed the case to
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federal court, see Notice of Removal, Loomer v. Facebook, Inc., No. 9:20-cv-80484-DMM,
(S.D. Fla. Mar. 24, 2020), ECF No. 1, and Ms. Loomer voluntarily dismissed the case shortly
thereafter, Notice of Voluntary Dismissal, Loomer, No. 9:20-cv-80484-DMM (S.D. Fla. Apr. 22,
2020), ECF No. 20. The Southern District of Florida transferred the first-filed Florida case to
this Court. Order Granting Motion to Transfer, Loomer, No. 9:19-cv-80893-RS (S.D. Fla. Apr.
13, 202), ECF No. 56. Ms. Loomer then voluntarily dismissed that action (with prejudice)—
after Meta had fully briefed a motion to dismiss and filed a motion for summary judgment—
explaining that she did not believe that she “would be accorded due process and an unbiased
adjudication by the Court.” Notice of Voluntary Dismissal, Loomer, No. 4:20-cv-03154-HSG
(N.D. Cal. Aug. 13, 2020), ECF No. 88; Joint Initial Case Management Statement at 3, Loomer,
No. 4:20-cv-03154-HSG (N.D. Cal. June 30, 2020), ECF No. 80. Yet Ms. Loomer returns to the
same court, with her fourth set of meritless claims based on the same events, raising serious
concerns relating to misuse of judicial process.

        Second, Section 230(c)(1) of the Communications Decency Act protects interactive
computer service providers such as Meta and Mr. Zuckerberg from claims based on decisions to
make available or restrict access to content created by third parties. See Barnes v. Yahoo!, Inc.,
570 F.3d 1096, 1102 (9th Cir. 2009). Ms. Loomer’s RICO claims do just that. At their core,
they seek to hold Defendants liable for removing her account and her content from the Facebook
platform. Such claims are squarely barred by Section 230. See, e.g., King v. Facebook, Inc.,
2021 WL 5279823, at *11 (N.D. Cal. Nov. 12, 2021) (holding that Section 230 protects
Facebook from liability for disabling account for violation of Community Standards); Sikhs for
Justice, Inc. v. Facebook, Inc., 697 F. App’x 526, 526 (9th Cir. 2017) (holding that Section 230
protects Facebook from liability for blocking user’s content).

        Third, the complaint impermissibly targets Meta’s and Mr. Zuckerberg’s First
Amendment right to exercise editorial judgments regarding what content they will or will not
disseminate on the privately-owned platform. Miami Herald Pub. Co. v. Tornillo, 418 U.S. 241,
257-58 (1974); NetChoice, LLC v. Att’y Gen’l, 34 F.4th 1196, 1222-23 (11th Cir. 2022) (“When
a platform selectively removes what it perceives to be incendiary political rhetoric … it conveys
a message and thereby engages in ‘speech’ within the meaning of the First Amendment.”);
accord O’Handley v. Twitter, et al. 2022 WL 93625, at *14-15 (N.D. Cal. Jan. 10, 2022).

        Fourth, the complaint does not state a claim against Meta or Mark Zuckerberg for
substantive violations of the RICO Act or for RICO conspiracy. To establish a RICO violation,
Ms. Loomer must plead specific facts establishing that Meta and Mark Zuckerberg participated
in the operation or management of an enterprise that engaged in a pattern of racketeering activity
causing injury to Ms. Loomer’s business or property. Reves v. Ernst & Young, 507 U.S. 170,
185 (1993); Living Designs, Inc. v. E.I. Dupont de Nemours and Co., 431 F.3d 353, 361 (9th Cir.
2005). The complaint does not plausibly allege any predicate acts constituting racketeering
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activity under the RICO Act; Ms. Loomer’s allegations are plainly insufficient to establish that
Meta or Mark Zuckerberg attempted to, conspired to, or did in fact commit wire fraud or
extortion; provide material support to foreign terrorist organizations; or advocate for the
overthrow of the government. Nor does the complaint plausibly allege the existence of an
enterprise, a pattern of racketeering activity, or an injury to Ms. Loomer’s business or property
caused by the alleged predicate acts.

        In short, the complaint does not state any viable legal claims against Meta or Mark
Zuckerberg, and its numerous deficiencies cannot be cured by amendment. To the extent you
believe that we misapprehend the law or your factual allegations, please explain the specific
basis for your disagreement. To the extent you believe there are amendments that could
somehow cure these defects, please plead them before Meta and Mark Zuckerberg (and,
importantly, the Court) are forced to undertake the burden and expense of litigating a motion to
dismiss. To the extent you intend to proceed with your complaint as filed, please be on notice
that Meta and Mark Zuckerberg will vigorously defend themselves against baseless claims.

                                                     Sincerely,

                                                     /s/ Sonal N. Mehta

                                                     Sonal N. Mehta
                                                     Counsel for Meta Platforms, Inc.
                                                     (f/k/a Facebook, Inc.) and Mark Zuckerberg


cc:    Ari Holtzblatt
       Emily Barnet
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   EXHIBIT 2
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                                                                                                      Email or phone                 Password

                                   Sign Up                                                                                                                   Log In
                                                                                                                                     Forgot account?



         1. The services we provide
                                                           The Facebook company is now Meta. We’ve updated our Terms of Use, Data Policy, and Cookies
                                                           Policy to reflect the new name on January 4, 2022. While our company name has changed, we are
         2. How our services are funded                    continuing to offer the same products, including the Facebook app from Meta. Our Data Policy
                                                           and Terms of Service remain in effect, and this name change does not affect how we use or share
                                                           data. Learn more about Meta and our vision for the metaverse.

         3. Your commitments to Facebook

                                                           Terms of Service
         and our community


         4. Additional provisions


         5. Other terms and policies that
         may apply to you                                  Meta builds technologies and services that enable people to
                                                           connect with each other, build communities, and grow
                                                           businesses. These Terms govern your use of Facebook,
               Facebook Ads Controls
                                                           Messenger, and the other products, features, apps, services,
                                                           technologies, and software we offer (the Meta Products or
               Privacy Basics                              Products), except where we expressly state that separate terms
                                                           (and not these) apply. These Products are provided to you by

               Cookies Policy
                                                           Meta Platforms, Inc.

                                                           We don’t charge you to use Facebook or the other products and
               Data Policy                                 services covered by these Terms, unless we state otherwise.
                                                           Instead, businesses and organizations, and other persons pay us
               More Resources                              to show you ads for their products and services. By using our
                                                           Products, you agree that we can show you ads that we think may
               •   View a printable version of the Terms
                   of Service                              be relevant to you and your interests. We use your personal data
                                                           to help determine which personalized ads to show you.

                                                           We don’t sell your personal data to advertisers, and we don’t
                                                           share information that directly identifies you (such as your name,
                                                           email address or other contact information) with advertisers
                                                           unless you give us specific permission. Instead, advertisers can tell
                                                           us things like the kind of audience they want to see their ads, and
                                                           we show those ads to people who may be interested. We provide
                                                           advertisers with reports about the performance of their ads that
                                                           help them understand how people are interacting with their
                                                           content. See Section 2 below to learn more about how
                                                           personalized advertising under these terms works on the Meta
                                                           Products.

                                                           Our Privacy Policy explains how we collect and use your personal
                                                           data to determine some of the ads you see and provide all of the
                                                           other services described below. You can also go to your settings
                                                           pages of the relevant Meta Product at any time to review the
                                                           privacy choices you have about how we use your data.
https://www.facebook.com/legal/terms                                                                                                                             1/12
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                                           p vacy c o ces you ave about ow we use you data.




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                                           1. The services we provide
                                           Our mission is to give people the power to build community and bring the world
                                           closer together. To help advance this mission, we provide the Products and services
                                           described below to you:

                                                Provide a personalized experience for you:
                                                Your experience on Facebook is unlike anyone else's: from the posts,
                                                stories, events, ads, and other content you see in Facebook News Feed or
                                                our video platform to the Facebook Pages you follow and other features
                                                you might use, such as Facebook Marketplace, and search. For example,
                                                we use data about the connections you make, the choices and settings
                                                you select, and what you share and do on and off our Products - to
                                                personalize your experience.

                                                Connect you with people and organizations you care about:
                                                We help you find and connect with people, groups, businesses,
                                                organizations, and others that matter to you across the Meta Products
                                                you use. We use data to make suggestions for you and others - for
                                                example, groups to join, events to attend, Facebook Pages to follow or
                                                send a message to, shows to watch, and people you may want to become
                                                friends with. Stronger ties make for better communities, and we believe
                                                our services are most useful when people are connected to people,
                                                groups, and organizations they care about.

                                                Empower you to express yourself and communicate about what
                                                matters to you:
                                                There are many ways to express yourself on Facebook to communicate
                                                with friends, family, and others about what matters to you - for example,
                                                sharing status updates, photos, videos, and stories across the Meta
                                                Products (consistent with your settings), sending messages or making
                                                voice or video calls to a friend or several people, creating events or
                                                groups, or adding content to your profile as well as showing you insights
                                                on how others engage with your content. We have also developed, and
                                                continue to explore, new ways for people to use technology, such as
                                                augmented reality and 360 video to create and share more expressive
                                                and engaging content on Meta Products.

                                                Help you discover content, products, and services that may interest
                                                you:
                                                We show you personalized ads, offers, and other sponsored or
                                                commercial content to help you discover content, products, and services
                                                that are offered by the many businesses and organizations that use
                                                Facebook and other Meta Products. Section 2 below explains this in more
                                                detail.

                                                Promote the safety, security, and integrity of our services, combat
                                                harmful conduct and keep our community of users safe:
https://www.facebook.com/legal/terms                                                                                             2/12
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                                               People will only build community on Meta Products if they feel safe and
                                               secure. We work hard to maintain the security (including the availability,
                                               authenticity, integrity, and confidentiality) of our Products and services.
                                               We employ dedicated teams around the world, work with external service
                                               providers, partners and other relevant entities and develop advanced
                                               technical systems to detect potential misuse of our Products, harmful
                                               conduct towards others, and situations where we may be able to help
                                               support or protect our community, including to respond to user reports
                                               of potentially violating content. If we learn of content or conduct like this,
                                               we may take appropriate action based on our assessment that may
                                               include - notifying you, offering help, removing content, removing or
                                               restricting access to certain features, disabling an account, or contacting
                                               law enforcement. We share data across Meta Companies when we detect
                                               misuse or harmful conduct by someone using one of our Products or to
                                               help keep Meta Products, users and the community safe. For example, we
                                               share information with Meta Companies that provide financial products
                                               and services to help them promote safety, security and integrity and
                                               comply with applicable law. Meta may access, preserve, use and share any
                                               information it collects about you where it has a good faith belief it is
                                               required or permitted by law to do so. For more information, please
                                               review our Privacy Policy.

                                               In some cases, the Oversight Board may review our decisions, subject to
                                               its terms and bylaws. Learn more here.

                                               Use and develop advanced technologies to provide safe and
                                               functional services for everyone:
                                               We use and develop advanced technologies - such as artificial
                                               intelligence, machine learning systems, and augmented reality - so that
                                               people can use our Products safely regardless of physical ability or
                                               geographic location. For example, technology like this helps people who
                                               have visual impairments understand what or who is in photos or videos
                                               shared on Facebook or Instagram. We also build sophisticated network
                                               and communication technology to help more people connect to the
                                               internet in areas with limited access. And we develop automated systems
                                               to improve our ability to detect and remove abusive and dangerous
                                               activity that may harm our community and the integrity of our Products.

                                               Research ways to make our services better:
                                               We engage in research to develop, test, and improve our Products. This
                                               includes analyzing data we have about our users and understanding how
                                               people use our Products, for example by conducting surveys and testing
                                               and troubleshooting new features. Our Privacy Policy explains how we
                                               use data to support this research for the purposes of developing and
                                               improving our services.

                                               Provide consistent and seamless experiences across the Meta
                                               Company Products:
                                               Our Products help you find and connect with people, groups, businesses,
                                               organizations, and others that are important to you. We design our
                                               systems so that your experience is consistent and seamless across the
                                               different Meta Company Products that you use. For example, we use data
                                               about the people you engage with on Facebook to make it easier for you
                                               to connect with them on Instagram or Messenger, and we enable you to
                                               communicate with a business you follow on Facebook through
https://www.facebook.com/legal/terms                                                                                            3/12
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                                                  Messenger.

                                                  Ensuring access to our services:
                                                  To operate our global services and enable you to connect with people
                                                  around the world, we need to transfer, store and distribute content and
                                                  data to our data centers, partners, service providers, vendors and
                                                  systems around the world, including outside your country of residence.
                                                  The use of this global infrastructure is necessary and essential to provide
                                                  our services. This infrastructure may be owned, operated, or controlled
                                                  by Meta Platforms, Inc., Meta Platforms Ireland Limited, or its affiliates.




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                                            2. How our services are funded
                                            Instead of paying to use Facebook and the other products and services we offer, by
                                            using the Facebook Products covered by these Terms, you agree that we can show
                                            you ads that businesses and organizations pay us to promote on and off the
                                            Facebook Company Products. We use your personal data, such as information
                                            about your activity and interests, to show you ads that are more relevant to you.
                                            Protecting people's privacy is central to how we've designed our ad system. This
                                            means that we can show you relevant and useful ads without telling advertisers who
                                            you are. We don't sell your personal data. We allow advertisers to tell us things like
                                            their business goal, and the kind of audience they want to see their ads (for
                                            example, people between the age of 18-35 who like cycling). We then show their ad
                                            to people who might be interested.
                                            We also provide advertisers with reports about the performance of their ads to
                                            help them understand how people are interacting with their content on and off
                                            Facebook. For example, we provide general demographic and interest information
                                            to advertisers (for example, that an ad was seen by a woman between the ages of 25
                                            and 34 who lives in Madrid and likes software engineering) to help them better
                                            understand their audience. We don’t share information that directly identifies you
                                            (information such as your name or email address that by itself can be used to
                                            contact you or identifies who you are) unless you give us specific permission. Learn
                                            more about how Facebook ads work here.
                                            We collect and use your personal data in order to provide the services described
                                            above to you. You can learn about how we collect and use your data in our Data
                                            Policy. You have controls over the types of ads and advertisers you see, and the
                                            types of information we use to determine which ads we show you. Learn more.




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                                            3. Your commitments to Facebook
https://www.facebook.com/legal/terms
                                            and our community                                                                        4/12
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                                           We provide these services to you and others to help advance our mission. In
                                           exchange, we need you to make the following commitments:

                                                1. Who can use Facebook
                                                When people stand behind their opinions and actions, our community is
                                                safer and more accountable. For this reason, you must:

                                                        Provide for your account the same name that you use in everyday
                                                        life.
                                                        Provide accurate information about yourself.
                                                        Create only one account (your own) and use it for personal
                                                        purposes.
                                                        Not share your password, give access to your Facebook account
                                                        to others, or transfer your account to anyone else (without our
                                                        permission).

                                                We try to make Facebook broadly available to everyone, but you cannot
                                                use Facebook if:

                                                        You are under 13 years old.
                                                        You are a convicted sex offender.
                                                        We've previously disabled your account for violations of our
                                                        Terms or the Community Standards, or other terms and policies
                                                        that apply to your use of Facebook. If we disable your account for
                                                        a violation of our Terms, the Community Standards, or other
                                                        terms and policies, you agree not to create another account
                                                        without our permission. Receiving permission to create a new
                                                        account is provided at our sole discretion, and does not mean or
                                                        imply that the disciplinary action was wrong or without cause.
                                                        You are prohibited from receiving our products, services, or
                                                        software under applicable laws.


                                                2. What you can share and do on Meta Products
                                                We want people to use Meta Products to express themselves and to
                                                share content that is important to them, but not at the expense of the
                                                safety and well-being of others or the integrity of our community. You
                                                therefore agree not to engage in the conduct described below (or to
                                                facilitate or support others in doing so):

                                                    1. You may not use our Products to do or share anything:

                                                             That violates these Terms, the Community Standards, or
                                                             other terms and policies that apply to your use of our
                                                             Products.
                                                             That is unlawful, misleading, discriminatory or fraudulent (or
                                                             assists someone else in using our Products in such a way).
                                                             That you do not own or have the necessary rights to share.
                                                             That infringes or violates someone else's rights, including
                                                             their intellectual property rights (such as by infringing
                                                             another’s copyright or trademark, or distributing or selling
                                                             counterfeit or pirated goods), unless an exception or
                                                             limitation applies under applicable law.
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                                                  2. You may not upload viruses or malicious code, use the services to
                                                     send spam, or do anything else that could disable, overburden,
                                                     interfere with, or impair the proper working, integrity, operation, or
                                                     appearance of our services, systemes, or Products.
                                                  3. You may not access or collect data from our Products using
                                                     automated means (without our prior permission) or attempt to
                                                     access data you do not have permission to access.
                                                  4. You may not proxy, request, or collect Product usernames or
                                                     passwords, or misappropriate access tokens.
                                                  5. You may not sell, license, or purchase any data obtained from us or
                                                     our services, except as provided in the Platform Terms.
                                                  6. You may not misuse any reporting, flagging, dispute, or appeals
                                                     channel, such as by making fraudulent, duplicative, or groundless
                                                     reports or appeals.

                                               We can remove or restrict access to content that is in violation of these
                                               provisions. We can also suspend or disable your account for conduct that
                                               violates these provisions, as provided in Section 4.B.
                                               If we remove content that you have shared in violation of the Community
                                               Standards, we’ll let you know and explain any options you have to request
                                               another review, unless you seriously or repeatedly violate these Terms or
                                               if doing so may expose us or others to legal liability; harm our community
                                               of users; compromise or interfere with the integrity or operation of any
                                               of our services, systems or Products; where we are restricted due to
                                               technical limitations; or where we are prohibited from doing so for legal
                                               reasons. For information on account suspension or termination, see
                                               Section 4.B below.
                                               To help support our community, we encourage you to report content or
                                               conduct that you believe violates your rights (including intellectual
                                               property rights) or our terms and policies, if this feature exists in your
                                               jurisdiction.
                                               We also can remove or restrict access to content features, services, or
                                               information if we determine that doing so is reasonably necessary to
                                               avoid or mitigate misuse of our services or adverse legal or regulatory
                                               impacts to Meta.


                                               3. The permissions you give us
                                               We need certain permissions from you to provide our services:

                                                   1. Permission to use content you create and share: Some content that
                                                      you share or upload, such as photos or videos, may be protected by
                                                      intellectual property laws.
                                                    You retain ownership of the intellectual property rights (things like
                                                    copyright or trademarks) in any such content that you create and
                                                    share on Facebook and other Meta Company Products you use.
                                                    Nothing in these Terms takes away the rights you have to your own
                                                    content. You are free to share your content with anyone else,
                                                    wherever you want.
                                                    However, to provide our services we need you to give us some legal
                                                    permissions (known as a "license") to use this content. This is solely
                                                    for the purposes of providing and improving our Products and
https://www.facebook.com/legal/terms                                                                                          6/12
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                                                   services as described in Section 1 above.
                                                   Specifically, when you share, post, or upload content that is covered
                                                   by intellectual property rights on or in connection with our
                                                   Products, you grant us a non-exclusive, transferable, sub-licensable,
                                                   royalty-free, and worldwide license to host, use, distribute, modify,
                                                   run, copy, publicly perform or display, translate, and create
                                                   derivative works of your content (consistent with your privacy and
                                                   application settings). This means, for example, that if you share a
                                                   photo on Facebook, you give us permission to store, copy, and
                                                   share it with others (again, consistent with your settings) such as
                                                   Meta Products or service providers that support those products
                                                   and services. This license will end when your content is deleted
                                                   from our systems.
                                                   You can delete individual content you share, post, and upload at any
                                                   time. In addition, all content posted to your personal account will
                                                   be deleted if you delete your account. Learn more about how to
                                                   delete your account. Account deletion does not automatically
                                                   delete content that you post as an admin of a page or content that
                                                   you create collectively with other users, such as photos in Shared
                                                   Albums which may continue to be visible to other album members.
                                                   It may take up to 90 days to delete content after we begin the
                                                   account deletion process or receive a content deletion request. If
                                                   you send content to trash, the deletion process will automatically
                                                   begin in 30 days unless you chose to delete the content sooner.
                                                   While the deletion process for such content is being undertaken,
                                                   the content is no longer visible to other users. After the content is
                                                   deleted, it may take us up to another 90 days to remove it from
                                                   backups and disaster recovery systems.
                                                   Content will not be deleted within 90 days of the account deletion
                                                   or content deletion process beginning in the following situations:

                                                          where your content has been used by others in accordance
                                                          with this license and they have not deleted it (in which case
                                                          this license will continue to apply until that content is
                                                          deleted);
                                                          where deletion within 90 days is not possible due to
                                                          technical limitations of our systems, in which case, we will
                                                          complete the deletion as soon as technically feasible; or
                                                          where immediate deletion would restrict our ability to:

                                                                  investigate or identify illegal activity or violations of
                                                                  our terms and policies (for example, to identify or
                                                                  investigate misuse of our Products or systems);
                                                                  protect the safety, integrity, and security of our
                                                                  Products, systems, services, our employees, and
                                                                  users, and to defend ourselves;
                                                                  comply with legal obligations for the preservation of
                                                                  evidence, including data Meta Companies providing
                                                                  financial products and services preserve to comply
                                                                  with any record keeping obligations required by law;
                                                                  or
                                                                  comply with a request of a judicial or administrative
                                                                  authority law enforcement or a government agency;
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                                                                   authority, law enforcement or a government agency;

                                                    in which case, the content will be retained for no longer than is
                                                    necessary for the purposes for which it has been retained (the
                                                    exact duration will vary on a case-by-case basis).
                                                    In each of the above cases, this license will continue until the
                                                    content has been fully deleted.
                                                  2. Permission to use your name, profile picture, and information
                                                     about your actions with ads and sponsored or commercial content:
                                                     You give us permission to use your name and profile picture and
                                                     information about actions you have taken on Facebook next to or
                                                     in connection with ads, offers, and other sponsored or commercial
                                                     content that we display across our Products, without any
                                                     compensation to you. For example, we may show your friends that
                                                     you are interested in an advertised event or have liked a Facebook
                                                     Page created by a brand that has paid us to display its ads on
                                                     Facebook. Ads and content like this can be seen only by people who
                                                     have your permission to see the actions you've taken on Meta
                                                     Products. You can learn more about your ad settings and
                                                     preferences.
                                                  3. Permission to update software you use or download: If you
                                                     download or use our software, you give us permission to download
                                                     and install updates to the software where available.


                                               4. Limits on using our intellectual property
                                               If you use content covered by intellectual property rights that we have
                                               and make available in our Products (for example, images, designs, videos,
                                               or sounds we provide that you add to content you create or share on
                                               Facebook), we retain all rights to that content (but not yours). You can
                                               only use our copyrights or trademarks (or any similar marks) as expressly
                                               permitted by our Brand Usage Guidelines or with our prior written
                                               permission. You must obtain our written permission (or permission under
                                               an open source license) to modify, translate, create derivative works of,
                                               decompile, or reverse engineer our products or their components, or
                                               otherwise attempt to extract source code from us, unless an exception or
                                               limitation applies under applicable law or your conduct relates to the
                                               Meta Bug Bounty Program.




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                                           4. Additional provisions
                                               1. Updating our Terms
                                               We work constantly to improve our services and develop new features to
                                               make our Products better for you and our community. As a result, we
                                               may need to update these Terms from time to time to accurately reflect
                                               our services and practices, to promote a safe and secure experience on
                                               our Products and services, and/or to comply with applicable law. Unless
                                               otherwise required by law, we will notify you before we make changes to
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                                               otherwise required by law, we will notify you before we make changes to
                                               these Terms and give you an opportunity to review them before they go
                                               into effect. Once any updated Terms are in effect, you will be bound by
                                               them if you continue to use our Products.
                                               We hope that you will continue using our Products, but if you do not
                                               agree to our updated Terms and no longer want to be a part of the
                                               Facebook community, you can delete your account at any time.

                                               2. Account suspension or termination
                                               We want Facebook to be a place where people feel welcome and safe to
                                               express themselves and share their thoughts and ideas.
                                               If we determine, in our discretion, that you have clearly, seriously or
                                               repeatedly breached our Terms or Policies, including in particular the
                                               Community Standards, we may suspend or permanently disable your
                                               access to Meta Company Products, and we may permanently disable or
                                               delete your account. We may also disable or delete your account if you
                                               repeatedly infringe other people’s intellectual property rights or where
                                               we are required to do so for legal reasons.
                                               We may disable or delete your account if after registration your account
                                               is not confirmed, your account is unused and remains inactive for an
                                               extended period of time, or if we detect someone may have used it
                                               without your permission and we are unable to confirm your ownership of
                                               the account. Learn more about how we disable and delete accounts.
                                               Where we take such action we’ll let you know and explain any options you
                                               have to request a review, unless doing so may expose us or others to
                                               legal liability; harm our community of users; compromise or interfere with
                                               the integrity or operation of any of our services, systems or Products;
                                               where we are restricted due to technical limitations; or where we are
                                               prohibited from doing so for legal reasons.
                                               You can learn more about what you can do if your account has been
                                               disabled and how to contact us if you think we have disabled your
                                               account by mistake.
                                               If you delete or we disable or delete your account, these Terms shall
                                               terminate as an agreement between you and us, but the following
                                               provisions will remain in place: 3, 4.2-4.5.

                                               3. Limits on liability
                                               We work hard to provide the best Products we can and to specify clear
                                               guidelines for everyone who uses them. Our Products, however, are
                                               provided "as is," and we make no guarantees that they always will be safe,
                                               secure, or error-free, or that they will function without disruptions,
                                               delays, or imperfections. To the extent permitted by law, we also
                                               DISCLAIM ALL WARRANTIES, WHETHER EXPRESS OR IMPLIED,
                                               INCLUDING THE IMPLIED WARRANTIES OF MERCHANTABILITY,
                                               FITNESS FOR A PARTICULAR PURPOSE, TITLE, AND NON-
                                               INFRINGEMENT. We do not control or direct what people and others do
                                               or say, and we are not responsible for their actions or conduct (whether
                                               online or offline) or any content they share (including offensive,
                                               inappropriate, obscene, unlawful, and other objectionable content).
                                               We cannot predict when issues might arise with our Products.
                                               Accordingly, our liability shall be limited to the fullest extent permitted by
                                               applicable law, and under no circumstance will we be liable to you for any
                                               lost profits, revenues, information, or data, or consequential, special,
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                                               lost profits, revenues, information, or data, or consequential, special,
                                               indirect, exemplary, punitive, or incidental damages arising out of or
                                               related to these Terms or the Meta Products (however caused and on
                                               any theory of liability, including negligence), even if we have been advised
                                               of the possibility of such damages. Our aggregate liability arising out of or
                                               relating to these Terms or the Meta Products will not exceed the greater
                                               of $100 or the amount you have paid us in the past twelve months.

                                               4. Disputes
                                               We try to provide clear rules so that we can limit or hopefully avoid
                                               disputes between you and us. If a dispute does arise, however, it's useful
                                               to know up front where it can be resolved and what laws will apply.
                                               You and Meta each agree that any claim, cause of action, or dispute
                                               between us that arises out of or relates to these Terms or your access or
                                               use of the Meta Products shall be resolved exclusively in the U.S. District
                                               Court for the Northern District of California or a state court located in
                                               San Mateo County. You also agree to submit to the personal jurisdiction
                                               of either of these courts for the purpose of litigating any such claim, and
                                               that the laws of the State of California will govern these Terms and any
                                               claim, cause of action, or dispute without regard to conflict of law
                                               provisions. Without prejudice to the foregoing, you agree that, in its sole
                                               discretion, Meta may bring any claim, cause of action, or dispute we have
                                               against you in any competent court in the country in which you reside
                                               that has jurisdiction over the claim.

                                               5. Other

                                                   1. These Terms (formerly known as the Statement of Rights and
                                                      Responsibilities) make up the entire agreement between you and
                                                      Meta Platforms, Inc. regarding your use of our Products. They
                                                      supersede any prior agreements.
                                                  2. Some of the Products we offer are also governed by supplemental
                                                     terms. If you use any of those Products, supplemental terms will be
                                                     made available and will become part of our agreement with you. For
                                                     instance, if you access or use our Products for commercial or
                                                     business purposes, such as buying ads, selling products, developing
                                                     apps, managing a group or Page for your business, or using our
                                                     measurement services, you must agree to our Commercial Terms. If
                                                     you post or share content containing music, you must comply with
                                                     our Music Guidelines. To the extent any supplemental terms
                                                     conflict with these Terms, the supplemental terms shall govern to
                                                     the extent of the conflict.
                                                  3. If any portion of these Terms is found to be unenforceable, the
                                                     unenforceable portion will be deemed amended to the minimum
                                                     extent necessary to make it enforceable, and if it can’t be made
                                                     enforceable, then it will be severed and the remaining portion will
                                                     remain in full force and effect. If we fail to enforce any of these
                                                     Terms, it will not be considered a waiver. Any amendment to or
                                                     waiver of these Terms must be made in writing and signed by us.
                                                  4. You will not transfer any of your rights or obligations under these
                                                     Terms to anyone else without our consent.
                                                  5. You may designate a person (called a legacy contact) to manage
                                                     your account if it is memorialized. If you enable it in your settings,
                                                     only your legacy contact or a person who you have identified in a
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                                                      valid will or similar legal document expressing clear consent to
                                                      disclose your content to that person upon death or incapacity will
                                                      be able to seek limited disclosure of information from your account
                                                      after it is memorialized.
                                                   6. These Terms do not confer any third-party beneficiary rights. All of
                                                      our rights and obligations under these Terms are freely assignable
                                                      by us in connection with a merger, acquisition, or sale of assets, or
                                                      by operation of law or otherwise.
                                                    7. We may need to change the username for your account in certain
                                                       circumstances (for example, if someone else claims the username
                                                       and it appears unrelated to the name you use in everyday life).
                                                    8. We always appreciate your feedback and other suggestions about
                                                       our products and services. But we may use feedback and other
                                                       suggestions without any restriction or obligation to compensate
                                                       you, and we are under no obligation to keep them confidential.
                                                   9. We reserve all rights not expressly granted to you.




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                                           5. Other terms and policies that may
                                           apply to you
                                             Community Standards: These guidelines outline our standards regarding the
                                             content you post to Facebook and your activity on Facebook and other Meta
                                             Products.
                                             Commercial Terms: These terms apply if you also access or use our Products for
                                             any commercial or business purpose, including advertising, operating an app on
                                             our Platform, using our measurement services, managing a group or a Page for a
                                             business, or selling goods or services.
                                             Community Payment Terms: These terms apply to payments made on or
                                             through Meta Products.
                                             Commerce Policies: These guidelines outline the policies that apply when you
                                             offer products or services for sale on Facebook, Instagram, and WhatsApp.
                                             Music Guidelines: These guidelines outline the policies that apply if you post or
                                             share content containing music on any Meta Products.
                                             Advertising Policies: These policies apply to partners who advertise across the
                                             Meta Products and specify what types of ad content are allowed by partners who
                                             advertise across the Meta Products.
                                             Self-Serve Ad Terms: These terms apply when you use self-serve advertising
                                             interfaces to create, submit, or deliver advertising or other commercial or
                                             sponsored activity or content.
                                             Facebook Pages, Groups and Events Policy: These guidelines apply if you create
                                             or administer a Facebook Page, group, or event, or if you use Facebook to
                                             communicate or administer a promotion.
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                                                                           Meta Platform Policy: These terms apply to the use of the set of APIs, SDKs,
                                                                           tools, plugins, code, technology, content, and services that enables others to
                                                                           develop functionality, retrieve data from MetaProducts, or provide data to us.
                                                                           Developer Payment Terms: These terms apply to developers of applications that
                                                                           use Facebook Payments.
                                                                           Meta Brand Resources: These guidelines outline the policies that apply to use of
                                                                           Meta trademarks, logos, and screenshots.
                                                                           Recommendations Guidelines: The Facebook Recommendations Guidelines and
                                                                           Instagram Recommendations Guidelines outline our standards for
                                                                           recommending and not recommending content.
                                                                           Live Policies: These policies apply to all content broadcast to Facebook Live.


                                                                      Date of Last Revision: July 26, 2022




  English (US) Español Français (France) 中文(简体) ‫ العربية‬Português (Brasil) Italiano 한국어 Deutsch हिन्दी 日本語


  Sign Up      Log In   Messenger     Facebook Lite       Watch   Places     Games    Marketplace   Facebook Pay      Oculus   Portal   Instagram   Bulletin   Local
  Fundraisers     Services    Voting Information Center     Groups   About     Create Ad   Create Page   Developers     Careers    Privacy   Cookies    Ad choices     Terms
  Help      Contact Uploading & Non-Users


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    Facebook Community Standards
    The Facebook Community Standards outline what is and isn't allowed on
    Facebook.




    Introduction

    Every day, people use Facebook to share their experiences, connect with friends
    and family, and build communities. It’s a service for more than 2 billion people to
    freely express themselves across countries and cultures and in dozens of
    languages.

    Meta recognizes how important it is for Facebook to be a place where people feel
    empowered to communicate, and we take our role seriously in keeping abuse off
    the service. That’s why we developed standards for what is and isn’t allowed on
    Facebook.

    These standards are based on feedback from people and the advice of experts in
    fields like technology, public safety and human rights. To ensure everyone’s voice
    is valued, we take great care to create standards that include different views and
    beliefs, especially from people and communities that might otherwise be
    overlooked or marginalized.
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    Please note that the US English version of the Community Standards reflects the
    most up to date set of the policies and should be used as the primary document.




    Our commitment to voice

    The goal of our Community Standards is to create a place for expression and give
    people a voice. Meta wants people to be able to talk openly about the issues that
    matter to them, even if some may disagree or find them objectionable. In some
    cases, we allow content—which would otherwise go against our standards—if it’s
    newsworthy and in the public interest. We do this only after weighing the public
    interest value against the risk of harm, and we look to international human rights
    standards to make these judgments.

    Our commitment to expression is paramount, but we recognize the internet
    creates new and increased opportunities for abuse. For these reasons, when we
    limit expression, we do it in service of one or more of the following values:




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    AUTHENTICITY
    We want to make sure the content people see on
    Facebook is authentic. We believe that authenticity
    creates a better environment for sharing, and that’s why
    we don’t want people using Facebook to misrepresent
    who they are or what they’re doing.




    SAFETY
    We’re committed to making Facebook a safe place. We
    remove content that could contribute to a risk of harm to
    the physical security of persons. Content that threatens
    people has the potential to intimidate, exclude or silence
    others and isn’t allowed on Facebook.




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    PRIVACY
    We’re committed to protecting personal privacy and
    information. Privacy gives people the freedom to be
    themselves, choose how and when to share on Facebook
    and connect more easily.




    DIGNITY
    We believe that all people are equal in dignity and rights.
    We expect that people will respect the dignity of others
    and not harass or degrade others.




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    Community Standards
    Our Community Standards apply to everyone, all around
    the world, and to all types of content.



    Each section of our Community Standards starts with a
    “Policy Rationale” that sets out the aims of the policy
    followed by specific policy lines that outline:



         Content that's not allowed; and



       Content that requires additional information or
    context to enforce on, content that is allowed with a
    warning screen or content that is allowed but can only be
    viewed by adults aged 18 and older.



    VIOLENCE AND CRIMINAL BEHAVI O R

    Violence and Incitement

    Dangerous Individuals and Organizations
    Coordinating Harm and Promoting Crime

    Restricted Goods and Services
    Fraud and Deception


    SAFETY

    Suicide and Self-Injury
    Child Sexual Exploitation, Abuse and Nudity
    Adult Sexual Exploitation
    Bullying and Harassment
    Human Exploitation
    Privacy Violations

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    O BJEC TIO NAB LE CONTENT

    Hate Speech
    Violent and Graphic Content

    Adult Nudity and Sexual Activity
    Sexual Solicitation


    INTEGR ITY AND AUTHENTICITY

    Account Integrity and Authentic Identity
    Spam

    Cybersecurity
    Inauthentic Behavior

    Misinformation
    Memorialization


    RESPEC TING INTELLEC TUAL P RO P ER TY

    Intellectual Property


    CO NTENT-R ELATED REQUESTS AND D ECI SI O NS

    User Requests
    Additional Protection of Minors




    NEXT

    Other policies




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    POLICIES

    ENFO RCEMENT
    FEATU R ES
    OVER SIGHT

    DATA




    Data Policy         Terms of Service           Cookies




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    Hate Speech
    Policy details

      Change log                                                                                        V




    Policy Rationale

   We believe that people use their voice and connect more freely when they don't
   feel attacked on the basis of who they are. That is why we don't allow hate
   speech on Facebook. It creates an environment of intimidation and exclusion, and
   in some cases may promote offline violence.

   We define hate speech as a direct attack against people - rather than concepts
   or institutions- on the basis of what we call protected characteristics: race,
   ethnicity, national origin, disability, religious affiliation, caste, sexual orientation,
   sex, gender identity and serious disease. We define attacks as violent or
   dehumanizing speech, harmful stereotypes, statements of inferiority,
   expressions of contempt, disgust or dismissal, cursing and calls for exclusion or
   segregation. We also prohibit the use of harmful stereotypes, which we define as
   dehumanizing comparisons that have historically been used to attack, intimidate,
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   or exclude specific groups, and that are often linked with offline violence. We
   consider age a protected characteristic when referenced along with another
   protected characteristic. We also protect refugees, migrants, immigrants and
   asylum seekers from the most severe attacks, though we do allow commentary
   and criticism of immigration policies. Similarly, we provide some protections for
   characteristics like occupation, when they're referenced along with a protected
   characteristic. Sometimes, based on local nuance, we consider certain words or
   phrases as frequently used proxies for PC groups.

   We also prohibit the usage of slurs that are used to attack people on the basis of
   their protected characteristics. However, we recognize that people sometimes
   share content that includes slurs or someone else's hate speech to condemn it or
   raise awareness. In other cases, speech, including slurs, that might otherwise
   violate our standards can be used self-referentially or in an empowering way. Our
   policies are designed to allow room for these types of speech, but we require
   people to clearly indicate their intent. If the intention is unclear, we may remove
   content.

    Learn more about our approach to hate speech.




   0
    Do not post:

   Tier 1

   Content targeting a person or group of people (including all groups except those
   who are considered non-protected groups described as having carried out violent
   crimes or sexual offenses or representing less than half of a group) on the basis
   of their aforementioned protected characteristic(s) or immigration status with:

    • Violent speech or support in written or visual form
    • Dehumanizing speech or imagery in the form of comparisons, generalizations,
      or unqualified behavioral statements (in written or visual form) to or about:
         • Insects.
         • Animals that are culturally perceived as intellectually or physically inferior.
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         • Filth, bacteria, disease and feces.
         • Sexual predato�
         • Subhumanity.
         • Violent and sexual criminals
         • Other criminals (including but not limited to "thieves," "bank robbers," or
           saying "All [protected characteristic or quasi-protected characteristic] are
           'criminals'").
         • Statements denying existence.
    • Mocking the concept, events or victims of hate crimes even if no real person is
      depicted in an image.
    • Designated dehumanizing comparisons, generalizations, or behavioral
      statements (in written or visual form) that include:
         • Black people and apes or ape-like creatures.
         • Black people and farm equipment.
         • Caricatures of Black people in the form of blackface.
         • Jewish people and rats.
         • Jewish people running the world or controlling major institutions such as
           media networks, the economy or the government.
         • Denying or distorting information about the Holocaust.
         • Muslim people and pigs.
         • Muslim person and sexual relations with goats or pigs.
         • Mexican people and worm-like creatures.
         • Women as household objects or referring to women as property or
           "objects".
         • Transgender or non-binary people referred to as "it".
         • Dalits, scheduled caste or 'lower caste' people as menial laborers.

   Tier 2

   Content targeting a person or group of people on the basis of their protected
   characteristic(s) with:

    • Generalizations that state inferiority (in written or visual form) in the following
      ways:
        • Physical deficiencies are defined as those about:
                • Hygiene, including but not limited to: filthy, dirty, smelly.
                • Physical appearance, including but not limited to: ugly, hideous.
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             • Mental deficiencies are defined as those about:
                   • Intellectual capacity, including but not limited to: dumb, stupid,
                     idiots.
                   • Education, including but not limited to: illiterate, uneducated.
                   • Mental health, including but not limited to: mentally ill, retarded,
                     crazy, insane.
          • Moral deficiencies are defined as those about:
                   • Character traits culturally perceived as negative, including but not
                     limited to: coward, liar, arrogant, ignorant.
                   • Derogatory terms related to sexual activity, including but not
                     limited to: whore, slut, perverts.
    •   Other statements of inferiority, which we define as:
          • Expressions about being less than adequate, including but not limited to:
             worthless, useless.
          • Expressions about being better/worse than another protected
             characteristic, including but not limited to: "I believe that males are
             superior to females."
          • Expressions about deviating from the norm, including but not limited to:
             freaks, abnormal.
    •   Expressions of contempt (in written or visual form), which we define as:
          • Self-admission to intolerance on the basis of a protected characteristics,
             including but not limited to: homophobic, islamophobic, racist.
          • Expressions that a protected characteristic shouldn't exist.
          • Expressions of hate, including but not limited to: despise, hate.
    •   Expressions of dismissal, including but not limited to: don't respect, don't like,
        don't care for
    •   Expressions of disgust (in written or visual form), which we define as:
          • Expressions that suggest the target causes sickness, including but not
             limited to: vomit, throw up.
          • Expressions of repulsion or distaste, including but not limited to: vile,
             disgusting, yuck.
    •   Cursing, except certain gender-based cursing in a romantic break-up context,
        defined as:
          • Referring to the target as genitalia or anus, including but not limited to:
             cunt, dick, asshole.
          • Profane terms or phrases with the intent to insult, including but not
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               limited to: fuck, bitch, motherfucker.
             • Terms or phrases calling for engagement in sexual activity, or contact with
               genitalia, anus, feces or urine, including but not limited to: suck my dick,
               kiss my ass, eat shit.

   Tier3

   Content targeting a person or group of people on the basis of their protected
   characteristic(s) with any of the following:

    • Segregation in the form of calls for action, statements of intent, aspirational or
      conditional statements, or statements advocating or supporting segregation.
    • Exclusion in the form of calls for action, statements of intent, aspirational or
      conditional statements, or statements advocating or supporting, defined as
        • Explicit exclusion, which means things like expelling certain groups or
           saying they are not allowed.
        • Political exclusion, which means denying the right to right to political
           participation.
        • Economic exclusion, which means denying access to economic
           entitlements and limiting participation in the labour market.
        • Social exclusion, which means things like denying access to spaces
           (physical and online)and social services, except for gender-based
           exclusion in health and positive support Groups.

   Content that describes or negatively targets people with slurs, where slurs are
   defined as words that are inherently offensive and used as insulting labels for the
   above characteristics.




   A
    For the following Community Standards, we require additional
    information and/or context to enforce:

    Do not post:

    • Content explicitly providing or offering to provide products or services that
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        aim to cnange peop1e·s sexual orientation or gender 1dent1ty.
    • Content attacking concepts, institutions, ideas, practices, or beliefs
        associated with protected characteristics, which are likely to contribute to
        imminent physical harm, intimidation or discrimination against the people
        associated with that protected characteristic. Facebook looks at a range of
        signs to determine whether there is a threat of harm in the content. These
        include but are not limited to: content that could incite imminent violence or
        intimidation; whether there is a period of heightened tension such as an
        election or ongoing conflict; and whether there is a recent history of violence
        against the targeted protected group. In some cases, we may also consider
        whether the speaker is a public figure or occupies a position of authority.
    • Content targeting a person or group of people on the basis of their protected
        characteristic(s) with claims that they have or spread the novel coronavirus,
        are responsible for the existence of the novel coronavirus, are deliberately
        spreading the novel coronavirus, or mocking them for having or experiencing
        the novel coronavirus.

    In certain cases, we will allow content that may otherwise violate the Community
    Standards when it is determined that the content is satirical. Content will only be
   allowed if the violating elements of the content are being satirized or attributed
   to something or someone else in order to mock or criticize them.




                                                                        Read less




   A      User experiences
          See some examples of what enforcement looks like for people on Facebook, such
          as: what it looks like to report something you don't think should be on Facebook,
          to be told you've violated our Community Standards and to see a warning screen
          over certain content.

          Note: We're always improving, so what you see here may be slightly outdated
          compared to what we currently use.
https://transparency.fb.com/policies/community-standards/hate-speech/                         6/14
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               USER EXPERIENCE

               Reporting




               0
               USER EXPERIENCE

               Post-report communication




               0
               USER EXPERIENCE

               Takedown experience




               0
               USER EXPERIENCE

               Warning screens




https://transparency.fb.com/policies/community-standards/hate-speech/                     7/14
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   A
          Data

          A     Prevalence

                Percentage of times people saw violating content


          PREVALENCE

          How prevalent were hate speech violations?


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          --------------r-------------------------�-   2021                               2022
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          How we calculate it G)Read about this data




          A     Content actioned

                Number of pieces of violating content we took action on
https://transparency.fb.com/policies/community-standards/hate-speech/                            8/14
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          CONTENT ACTIONED

          How much hate speech content did we take action on?

                                                                                              @       ===

                                                                                                              35



                                                                                                              30



                                                                                                              25



                                                                                                              20




                                                                                                              10




                 12018                           I   2019               I   2020   I   2021       I   2022    °




          How we calculate it G)Read about this data




          A     Proactive rate
                Percentage of violating content we found before people reported it

          PROACTIVE RATE

          Of the violating content we actioned for hate speech, how
          much did we find before people reported it?

                                                                                              @


https://transparency.fb.com/policies/community-standards/hate-speech/                                        9/14
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                                                                                                  09




          � Found and flagged by us                      [+      Reported by users



          How we calculate it G)Read about this data




          A     Appealed content

                Number of pieces of content people appealed after we took action on it

          APPEALED CONTENT

          How much of the content we actioned for hate speech did
          people appeal?

                                                                                     @    555




https://transparency.fb.com/policies/community-standards/hate-speech/                           10/14
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                                                                                                                 60




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          I   2019                                    I   2020             I   2021                  i   2022
                                                                                                                 0




          How we calculate it Q)Read about this data




          A          Restored content

                     Number of pieces of content we restored after we originally took action on it

          RESTORED CONTENT

          How much actioned content for hate speech was later
          restored?

                                                                                                         555




https://transparency.fb.com/policies/community-standards/hate-speech/                                          11/14
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                                                                                                    30




                                                                                                    20




                                                                                                    10




                                                                                                    0




          � Restored without appeal                       [• Restored after appeal   I-   Total



          How we calculate it G)Read about this data




          Enforcement
         We have the same policies around the world, for everyone on Facebook.




         Review teams
         Our global team of over 15,000 reviewers work every day to keep people on
         Facebook safe.




https://transparency.fb.com/policies/community-standards/hate-speech/                             12/14
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         Stakeholder engagement
         Outside experts, academics, NGOs and policymakers help inform the Facebook
         Community Standards.




   A      Get help with hate speech

          Learn what you can do if you see something on Facebook that goes against our
          Community Standards.




               Visit our Help Center




               0

    NEXT

    Violent and Graphic Content


         PREVIOUS

    Privacy Violations
https://transparency.fb.com/policies/community-standards/hate-speech/                     13/14
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         OOMeta


     POLICIES
    ENFORCEMENT
    FEATURES
    OVERSIGHT
    DATA




    Data Policy         Terms of Service          Cookies




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    EXHIBIT 5
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          OOMeta                                                                                Language""




      Home ➔ Policies ➔ Facebook Community Standards




      Dangerous Individuals and Organizations
      Policy details
      r

          Change log                                                                                    V




      Policy Rationale

      In an effort to prevent and disrupt real-world harm, we do not allow organizations or
      individuals that proclaim a violent mission or are engaged in violence to have a presence on
      Facebook. We assess these entities based on their behavior both online and offline, most
      significantly, their ties to violence. Under this policy, we designate individuals, organizations,
      and networks of people. These designations are divided into three tiers that indicate the
      level of content enforcement, with Tier 1 resulting in the most extensive enforcement
      because we believe these entities have the most direct ties to offline harm.

      Tier 1 focuses on entities that engage in serious offline harms - including organizing or
      advocating for violence against civilians, repeatedly dehumanizing or advocating for harm
      against people based on protected characteristics, or engaging in systematic criminal
      operations. Tier 1 entities include terrorist, hate, and criminal organizations. We remove
      praise, substantive support, and representation of Tier 1 entities as well as their leaders,
      founders, or prominent members. Tier 1 includes hate organizations; criminal organizations,
      including those designated by the United States government as Specially Designated
      Narcotics Trafficking Kingpins (SDNTKs); and terrorist organizations, including entities and
https://transparency.fb.com/policies/community-standards/dangerous-individuals-organizations/                1/15
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      individuals designated by the United States government as Foreign Terrorist Organizations
      (FTOs) or Specially Designated Global Terrorists (SDGTs). We remove praise, substantive
      support, and representation of Tier 1 entities as well as their leaders, founders, or prominent
      members.

      In addition, we do not allow content that praises, substantively supports, or represents
      events that Facebook designates as violating violent events - including terrorist attacks,
      hate events, multiple-victim violence or attempted multiple-victim violence, multiple
      murders, or hate crimes. Nor do we allow praise, substantive support, or representation of
      the perpetrator(s) of such attacks. We also remove content that praises, substantively
      supports or represents ideologies that promote hate, such as nazism and white supremacy.

      Tier 2 focuses on entities that engage in violence against state or military actors but do not
      generally target civilians -- what we call "Violent Non-State Actors." We remove all
      substantive support and representation of these entities, their leaders, and their prominent
      members. We remove any praise of these groups' violent activities.

      Tier 3 focuses on entities that may repeatedly engage in violations of our Hate Speech or
      Dangerous Organizations policies on-or-off the platform or demonstrate strong intent to
      engage in offline violence in the near future, but have not necessarily engaged in violence to
      date or advocated for violence against others based on their protected characteristics. This
      includes Militarized Social Movements, Violence-Inducing Conspiracy Networks, and
      individuals and groups banned for promoting hatred. Tier 3 entities may not have a presence
      or coordinate on our platforms.

      We recognize that users may share content that includes references to designated
      dangerous organizations and individuals to report on, condemn, or neutrally discuss them or
      their activities. Our policies are designed to allow room for these types of discussions while
      simultaneously limiting risks of potential offline harm. We thus require people to clearly
      indicate their intent when creating or sharing such content. If a user's intention is
      ambiguous or unclear, we default to removing content.

      In line with international human rights law, our policies allow discussions about the human
      rights of designated individuals or members of designated dangerous entities, unless the
      content includes other praise, substantive support, or representation of designated entities
      or other policy violations, such as incitement to violence.

      Please see our Corporate Human Rights Policy for more information about our commitment
      to internationally recognized human rights.



https://transparency.fb.com/policies/community-standards/dangerous-individuals-organizations/           2/15
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      0
      We Remove:

      We remove Praise, Substantive Support, and Representation of various Dangerous
      Organizations. These concepts apply to the organizations themselves, their activities, and
      their members. These concepts do not proscribe peaceful advocacy for particular political
      outcomes.

      Praise, defined as any of the below:

      • Speak positively about a designated entity or event;
              • E.g., "The fighters for the Islamic State are really brave!"
      • Give a designated entity or event a sense of achievement;
              • E.g., "Timothy McVeigh is a martyr."
      • Legitimizing the cause of a designated entity by making claims that their hateful, violent,
          or criminal conduct is legally, morally, or otherwise justified or acceptable;
              • E.g., "Hitler did nothing wrong."
      • Aligning oneself ideologically with a designated entity or event.
              • E.g., "I stand with Brenton Tarrant."

      We remove Praise of Tier 1 entities and designated events. We will also remove praise of
      violence carried out by Tier 2 entities.

      Substantive Support, defined as any of the below:

      • Any act which improves the financial status of a designated entity - including funnelling
          money towards, or away from a designated entity;
              • E.g., "Donate to the KKK!"
      • Any act which provides material aid to a designated entity or event;
              • E.g., "If you want to send care packages to the Sinaloa Cartel, use this address:"
      • Putting out a call to action on behalf of a designated entity or event;
              • E.g., "Contact the Atomwaffen Division - (XXX) XXX-XXXX"
      • Recruiting on behalf of a designated entity or event;
              • E.g., "If you want to fight for the Caliphate, DM me"
      • Channeling information or resources, including official communications, on behalf of a
          designated entity or event
              • E.g., Directly quoting a designated entity without caption that condemns, neutrally
                 discusses, or is a part of news reporting.

      We remove Substantive Support of Tier 1 and Tier 2 entities and designated events.

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      Representation, defined as any of the below:

      • Stating that you are a member of a designated entity, or are a designated entity;
          • E.g., "I am a grand dragon of the KKK."
      • Creating a Page, Profile, Event, Group, or other Facebook entity that is or purports to be
        owned by a Designated Entity or run on their behalf, or is or purports to be a designated
        event.
          • E.g., A Page named "American Nazi Party."

      We remove Representation of Tier 1 and 2 Designated Organizations, Hate-Banned Entities,
      and designated events.




      A
      Types and Tiers of Dangerous Organizations

      Tier 1: Terrorism, organized hate, large-scale criminal activity, attempted multiple-victim
      violence, multiple victim violence, multiple murders, and violating violent events

      We do not allow individuals or organizations involved in organized crime, including those
      designated by the United States government as specially designated narcotics trafficking
      kingpins (SDNTKs); hate; or terrorism, including entities designated by the United States
      government as Foreign Terrorist Organizations (FTOs) or Specially Designated Global
      Terrorists (SDGTs), to have a presence onthe platform. We also don't allow other people to
      represent these entities. We do not allow leaders or prominent members of these
      organizations to have a presence on the platform, symbols that represent them to be used
      on the platform, or content that praises them or their acts. In addition, we remove any
      coordination of substantive support for these individuals and organizations.

      We do not allow content that praises, substantively supports, or represents events that
      Meta designates as terrorist attacks, hate events, multiple-victim violence or attempted
      multiple-victim violence, serial murders, hate crimes or violating violent events.

      We also do not allow Praise, Substantive Support, or Representation of designated hateful
      ideologies.

      Terrorist organizations and individuals, defined as a non-state actor that:



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      • Engages in, advocates, or lends substantial support to purposive and planned acts of
          violence,
      • Which causes or attempts to cause death, injury or serious harm to civilians, or any other
          person not taking direct part in the hostilities in a situation of armed conflict, and/or
          significant damage to property linked to death, serious injury or serious harm to civilians
      • With the intent to coerce, intimidate and/or influence a civilian population, government,
          or international organization
      • In order to achieve a political, religious, or ideological aim.

      Hate Organizations, defined as an association of three or more people that:

      • is organized under a name, sign, or symbol; and
      • has an ideology, statements, or physical actions that attack individuals based on
          characteristics, including race, religious affiliation, national origin, disability, ethnicity,
          gender, sex, sexual orientation, or serious disease.

      Criminal Organizations, defined as an association of three or more people that:

      • is united under a name, color(s), hand gesture(s) or recognized indicia; and
      • has engaged in or threatens to engage in criminal activity such as homicide, drug
          trafficking, or kidnapping.

      Multiple-Victim Violence and Multiple Murders

      • We consider an event to be multiple-victim violence or attempted multiple-victim
          violence if it results in three or more casualties in one incident, defined as deaths or
          serious injuries. Any Individual who has committed such an attack is considered to be a
          perpetrator or an attempted perpetrator of multiple-victim violence.
      • We consider any individual who has committed two or more murders over multiple
          incidents or locations a multiple murderer.

      Hateful Ideologies

      • While our designations of organizations and individuals focus on behavior, we also
          recognize that there are certain ideologies and beliefs that are inherently tied to violence
          and attempts to organize people around calls for violence or exclusion of others based on
          their protected characteristics. In these cases, we designate the ideology itself and
          remove content that supports this ideology from our platform. These ideologies include:
              • Nazism
              • White Supremacy
              • White Nationalism

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           • White Separatism
      • We remove explicit Praise, Substantive Support, and Representation of these ideologies,
        and remove individuals and organizations that ascribe to one or more of these hateful
        ideologies.

      Tier 2: Violent Non-State Actors

      Organizations and individuals designated by Meta as Violent Non-state Actors are not
      allowed to have a presence on Facebook, or have a presence maintained by others on their
      behalf. As these groups are actively engaged in violence, substantive support of these
      entities is similarly not allowed. We will also remove praise of violence carried out by these
      entities.

      Violent Non-State Actors, defined as any non-state actor that:

      • engages in purposive and planned acts of violence primarily against a government military
        or other armed groups; and
      • that causes or attempts to
           • cause death to persons taking direct part in hostilities in an armed conflict, and/or
           • deprive communities of access to vital infrastructure and natural resources, and/or
             bring significant damage to property, linked to death, serious injury or serious harm
             to civilians

      Tier 3: Militarized Social Movements, Violence-Inducing Conspiracy Networks, and Hate
      Banned Entities

      Pages, Groups, Events, and Profiles or other Facebook entities that are - or claim to be -
      maintained by, or on behalf of, Militarized Social Movements and Violence-Inducing
      Conspiracy Networks are prohibited. Admins of these pages, groups and events will also be
      removed.

      Click here to read more about how we address movements and organizations tied to
      violence.

      We do not allow Representation of Organizations and individuals designated by Meta as
      Hate-Banned Entities.

      Militarized Social Movements (MSMs), which include:

      • Militia Groups, defined as non-state actors that use weapons as a part of their training,
        communication, or presence; and are structured or operate as unofficial military or
        securitv forces and:
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           • Coordinate in preparation for violence or civil war; or
           • Distribute information about the tactical use of weapons for combat; or
           • Coordinate militarized tactical coordination in a present or future armed civil conflict
             or civil war.
      • Groups supporting violent acts amid protests, defined as non-State actors that
        repeatedly:
           • Coordinate, promote, admit to or engage in:
           • Acts of street violence against civilians or law enforcement; or
           • Arson, Looting, or other destruction of property; or
           • Threaten to violently disrupt an election process; or
           • Promote bringing weapons to a location when the stated intent is to intimidate
             people amid a protest.

      Violence-Inducing Conspiracy Networks (VICNs), defined as a Non-State Actor that:

      • Organizes under a name, sign, mission statement, or symbol; and
      • Promote theories that attribute violent or dehumanizing behavior to people or
        organizations that have been debunked by credible sources; and
      • Has inspired multiple incidents of real-world violence by adherents motivated by the
        desire to draw attention to or redress the supposed harms promoted by these debunked
        theories.

      Hate-Banned Entities, defined as entities that engage in repeated hateful conduct or
      rhetoric, but do not rise to the level of a Tier 1 entity because they have not engaged in or
      explicitly advocated for violence, or because they lack sufficient connections to previously
      designated organizations or figures.




      A
      For the following Community Standards, we require additional information
      and/or context to enforce:

      • In certain cases, we will allow content that may otherwise violate the Community
        Standards when it is determined that the content is satirical. Content will only be allowed
        if the violating elements of the content are being satirized or attributed to something or
        someone else in order to mock or criticize them.



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      Transparency Center




      "' User experiences

            See some examples of what enforcement looks like for people on Facebook, such
            as: what it looks like to report something you don't think should be on Facebook,
            to be told you've violated our Community Standards and to see a warning screen
            over certain content.

            Note: We're always improving, so what you see here may be slightly outdated
            compared to what we currently use.




                USER EXPERIENCE
                Reporting




                0
                USER EXPERIENCE
                Post-report communication




                0
                USER EXPERIENCE
                Takedown experience

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                0
                USER EXPERIENCE
                Warning screens




                0
      A
            Data

            "' Prevalence

                 Percentage of times people saw violating content

            PREVALENCE

            How prevalent were dangerous organizations violations?




            Terrorism

            Views of violating content that contains terrorism are very infrequent, and we remove much of this content
            before people see it. As a result, many times we do not find enough violating samples to precisely estimate
            prevalence.

            In Q1 2022, this was true for violations of our policies on terrorism, suicide and self-injury and regulated goods
            on Facebook and lnstagram. In these cases, we can estimate an upper limit of how often someone would see
            content that violates these policies.

            In Q1 2022, the upper limit was 0.05% for violations of our policy for terrorism on Facebook. This means that
            out of every 10,000 views of content on Facebook, we estimate no more than 5 of those views contained

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            content that violated the policy.



            Organized Hate
            We cannot estimate prevalence for organized hate right now. We will continue to expand prevalence
            measurement to more areas as we confirm accuracy and meaningful data.




            A    Content actioned

                 Number of pieces of violating content we took action on


            CONTENT ACTIONED

            How much dangerous organizations content did we take
            action on?


                                                                                                            ■-

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                   12018                          I   2019                        I   2020      I   2021        I   2022   °

            � Terrorism              A Organized Hate



            How we calculate it (DRead about this data                0


            A Proactive rate

https://transparency.fb.com/policies/community-standards/dangerous-individuals-organizations/                          10/15
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                 Percentage of violating content we found before people reported it


            PROACTIVE RATE

            Of the violating content we actioned for dangerous
            organizations, how much did we find before people
            reported it?

                Terrorism     v




            L•     Found and flagged by us             ♦    Reported by users



            How we calculate it (DRead about this data                0


            A    Appealed content

                 Number of pieces of content people appealed after we took action on it


           APPEALED CONTENT

            How much of the content we actioned for dangerous
            organizations did people appeal?




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                       Case 3:22-cv-02646-LB Document 59-2 Filed 08/08/22 Page 53 of 128




             2019                                        2020                                   2021     2022




            � Terrorism              .& Organized Hate



            How we calculate it (DRead about this data 0




            r-      Restored content

                    Number of pieces of content we restored after we originally took action on it


           RESTORED CONTENT

            How much actioned content for dangerous organizations
            was later restored?

                 Terrorism v
                                                                                                       ■ --



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            l ■    Restored without appeal              ♦    Restored after appeal              - Total



            How we calculate it (DRead about this data 0




           Enforcement 0
           We have the same policies around the world, for everyone on Facebook.



           Review teams 0
           Our global team of over 15,000 reviewers work every day to keep people on Facebook safe.



           Stakeholder engagement 0
           Outside experts, academics, NGOs and policymakers help inform the Facebook Community
           Standards.




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      " Get help with dangerous individuals and organizations
            Learn what you can do if you see something on Facebook that goes against our Community
            Standards.




                Visit our Help Center




                0

      NEXT0

      Coordinating Harm and Promoting Crime


      0    PREVIOUS

      Violence and Incitement




          OOMeta


       POLICIES
       ENFORCEMENT
       FEATURES

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       OVERSIGHT
       DATA




       Data Policy • Terms of Service • Cookies




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    EXHIBIT 6
8/8/22, 10:36 AM    Case 3:22-cv-02646-LB Document    59-2
                                            Facebook bans      Filedindividuals'
                                                          'dangerous  08/08/22   - BBC Page
                                                                                       News 58 of 128




                                                                                                        Menu


   Tech




   Facebook bans 'dangerous individuals'
   Dave Lee
   North America technology reporter

      3 May 2019




    AFP/GETTY

     Milo Yiannopoulous, Alex Jones and Louis Farrakhan have all been banned


   Facebook is banning several prominent figures it regards as "dangerous
   individuals".


https://www.bbc.com/news/technology-48142098                                                                   1/7
8/8/22, 10:36 AM    Case 3:22-cv-02646-LB Document    59-2
                                            Facebook bans      Filedindividuals'
                                                          'dangerous  08/08/22   - BBC Page
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   The social network accused Alex Jones, host of right-wing conspiracy website
   InfoWars, its UK editor Paul Joseph Watson and ex-Breitbart News editor Milo
   Yiannopoulos of hate speech.

   Louis Farrakhan, the Nation of Islam leader who has expressed anti-Semitic
   views, will also be excluded.

   Facebook has already banned anti-Islamic UK groups like Britain First.

   The latest ban also applies on Instagram, which Facebook owns.

   "We’ve always banned individuals or organisations that promote or engage in
   violence and hate, regardless of ideology,” the company said in a statement.


       More people in more places trust BBC News than any other
       news source.                                                                                Register
       Register for a BBC account to see why.

   "The process for evaluating potential violators is extensive and it is what led us
   to our decision to remove these accounts today."

   The banned group also includes Paul Nehlen, a white supremacist, and Laura
   Loomer, an anti-Islamic activist with a large social media presence.

   In November, Ms Loomer handcuffed herself to a Twitter building in New York
   in protest at being banned from that platform.




    GETTY IMAGES

     Laura Loomer is among those banned from the platform

https://www.bbc.com/news/technology-48142098                                                                  2/7
8/8/22, 10:36 AM    Case 3:22-cv-02646-LB Document    59-2
                                            Facebook bans      Filedindividuals'
                                                          'dangerous  08/08/22   - BBC Page
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    GETTY IMAGES

     White supremacist Paul Nehlen, right, has twice run in Republican primaries


   However, Facebook has been criticised for giving forewarning of the bans,
   giving those affected a chance to redirect their followers to other services.

   For a brief time on Thursday, Alex Jones was broadcasting, on Facebook,
   about his impending ban.

   “I’m about to be banned," wrote Mr Yiannopoulos to his followers on
   Instagram. "Please sign up for my mailing list before this account disappears."

   A spokesperson at Facebook said the ban will apply to all types of
   representation of the individuals on both Facebook and Instagram.

   The firm said it would remove pages, groups and accounts set up to represent
   them, and would not allow the promotion of events when it knows the banned
   individual is participating.

   In an email, Facebook explained its rationale for banning the users:

       It said Alex Jones had hosted on his programme Gavin McInnes, leader of
       the Proud Boys, whose members are known for racist, anti-Muslim and
       misogynistic rhetoric. Mr McInnes has been designated a "hate figure" by
       Facebook

       Facebook said this year Milo Yiannopoulos had publicly praised both Mr
       McInnes and English Defence League founder Tommy Robinson, both
       banned from the network




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       Laura Loomer also appeared with Mr McInnes, and Facebook said she also
       praised another banned figure, Faith Goldy, a Canadian

       Nation of Islam leader Louis Farrakhan was banned for making several anti-
       Semitic remarks earlier this year

   _______

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     Facebook bans ‘dangerous individuals’ cited for hate
     speech
     By BARBARA ORTUTAY     May 3, 2019




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                             SAN FRANCISCO (AP) — After years of pressure to
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                             crack down on hate and bigotry, Facebook has banned
                             Louis Farrakhan, Alex Jones and other extremists,
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                             saying they violated its ban on “dangerous
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                             The company also removed right-wing personalities
                             Paul Nehlen, Milo Yiannopoulos, Paul Joseph Watson
                             and Laura Loomer, along with Jones’ site, Infowars,
                             which often posts conspiracy theories. The latest bans
                             apply to both Facebook’s main service and to
                             Instagram and extend to fan pages and other related
                             accounts.

                             Decried as censorship by several of those who got the
                             ax, the move signals a renewed effort by the social
                             media giant to remove people and groups promoting
                             objectionable material such as hate, racism and anti-
                             Semitism.

                             Removing some of the best-known figures of the U.S.
                             political extreme takes away an important virtual
                             megaphone that Facebook has provided the likes of                                                                    Senate Demo
                             Jones, Yiannopoulos and others over the years. But it                                                                package, a vic
                             does not address what might be done with lesser
                             known figures and those who stay on the margins of
                             what Facebook’s policies allow.

                             Critics praised the move but said there is more to be
                             done on both Facebook and Instagram.

                             “We know that there are still white supremacists and
                             other extremist figures who are actively using both
                             platforms to spread their hatred and bigotry,” said
                             Keegan Hankes, senior research analyst for the
                             Southern Poverty Law Center, which tracks hate
                             groups in the U.S.

                             Dipayan Ghosh, a former Facebook executive and an
                             internet policy expert at Harvard, said the ban isn’t as
                             big a step as Facebook appears to be painting it — it’s
                             just enforcing its existing policy.

                             “There will always be more purveyors of hate speech
                             that try to come on these platforms,” he said. “Will
                             advocates have to push year after year just to get (a
                             handful of ) individuals off? At this rate it seems likely.
                             And this doesn’t address the problem of what happens
                             at the margins.”

                             Facebook has previously suspended Jones from its
                             flagship service temporarily; this suspension is
                             permanent and includes Instagram. Twitter has also
                             banned Loomer, Jones and Yiannopoulos, though
                             Farrakhan, the leader of the Nation of Islam long
                             known for provocative comments widely considered
                             anti-Semitic, still had an account Thursday. So did
                             Watson, who rose to popularity as editor-at-large at
                             Infowars and has nearly a million followers on the
                             site.

                             Facebook said the newly banned accounts violated its
                             policy against dangerous individuals and
                             organizations. The company says it has always banned
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                             people or groups that proclaim a violent or hateful
                 AP NEWS     mission or are engaged in acts of hate or violence,
                             regardless of political ideology.


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                             It added that when it bans someone under this policy,
                             the company also prohibits anyone else from praising
                             or supporting them.

                             In this case, though, the company said people can
                             speak positively about the six banned individuals as
                             long as what they’re saying otherwise complies with
                             Facebook policies.

                             For years, social media companies have been under
                             pressure from civil rights groups and other activists to
                             clamp down on hate speech on their services.
                             Following the deadly white nationalist protests in
                             Charlottesville, Virginia, in 2017, Google, Facebook
                             and PayPal began banishing extremist groups and
                             individuals who identified as or supported white                                                  Senate Demo
                             supremacists.                                                                                     package, a vic

                             A year later, widespread bans of Jones and Infowars
                             reflected a more aggressive enforcement of policies
                             against hate speech. But Facebook instituted only a
                             30-day suspension (though Twitter banned him
                             permanently).

                             It is not clear what events led to Thursday’s
                             announcement. In a statement, Facebook merely said,
                             “The process for evaluating potential violators is
                             extensive and it is what led us to our decision to
                             remove these accounts today.”

                             Last month, it extended its ban on hate speech to
                             prohibit the promotion and support of white
                             nationalism and white separatism. It had previously
                             allowed such material even though it has long banned
                             white supremacists.

                             Asked to comment on the bans, Yiannopoulos emailed
                             only “You’re next.”

                             Jones reacted angrily Thursday during a live stream of
                             his show on his Infowars website.

                             “They didn’t just ban me. They just defamed us. Why
                             did Zuckerberg even do this?” Jones said, referring to
                             Facebook CEO Mark Zuckerberg.

                             Jones called himself a victim of “racketeering” by
                             “cartels.”


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                             “There’s a new world now, man, where they’re
                             banning everybody and then they tell Congress
                             nobody is getting banned,” he said.

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                               Watson, meanwhile, tweeted that he was not given a
                 AP NEWS       reason and that he “broke none of their rules.”

                               “Hopefully, other prominent conservatives will speak
                               out about me being banned, knowing that they are
                               next if we don’t pressure the Trump administration to
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                               Farrakhan, Nehlen and Loomer did not immediately
                               return messages for comment.

                               Harvard’s Ghosh said kicking off individuals with big
                               followings, such as Jones, goes against Facebook’s
                               commercial interest.

                               “As soon as they kick Alex Jones or Laura Loomer off
                               their platform, it immediately ticks of a huge number
                               of people,” he said.

                               ___

                               Associated Press Writers Tali Arbel in New York and
                               Michael Kunzelman in Silver Spring, Maryland,
                               contributed to this story.

                               ___
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                               This story has been corrected to read Charlottesville,
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                               Virginia, not South Carolina.




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     Facebook has said it will not allow politicians to set up new accounts on the
     platform if they have previously been banned, according to a statement
     obtained from the social media company by Breitbart News.

     Breitbart News reached out to Facebook after learning that the platform was blocking a Republican
     congressional candidate’s attempt to set up an official campaign page.

     The candidate, Laura Loomer, is running in the Republican primary for the House of Representatives in
     Florida’s 21st district. She previously had her personal accounts on Facebook and Facebook-owned
     Instagram banned under the company’s “dangerous individual” policy. Loomer says the label is
     defamatory and is contesting it in court.

     President Trump declared Mar-a-Lago, Florida as his permanent residence earlier this year, meaning
     that the President and First Lady will cast their votes in FL-21.

     Her campaign attempted to set up a campaign page on Tuesday, providing Facebook with the required
     data from the Federal Elections Commission (FEC) to verify that she is a declared Republican candidate.
     Within hours of the account being set up by Loomer’s campaign, it had been blacklisted by Mark
     Zuckerberg’s company.

     In response to a request for comment by Breitbart News, a Facebook spokesman confirmed that Loomer
     would not be allowed to set up a campaign page.

     “People who have been banned from our services aren’t able to set up a new account even if they’re
     running for office,” said the spokesman.

     In a speech last month, Facebook CEO Mark Zuckerberg promised that his company would not censor
     politicians.

     “We think people should be able to hear what politicians have to say,” said Zuckerberg. “I don’t think it’s
     right for tech companies to censor politicians in a democracy.”

     Zuckerberg has also said he won’t ban ads from political candidates on his platform — but you need a
     Facebook account in order to run an ad.

     Karen Giorno, a senior adviser to the campaign, said Facebook’s banning of the campaign page
     constitutes “blatant election interference.”

     “Facebook’s actions are extremely disturbing and require immediate correction,” said Giorno.

     By allowing some political candidates and not others to reach voters through its platform, Facebook
     could run afoul of FEC regulations about “in-kind contributions.”

     When it was revealed that Rep. Matt Gaetz (R-FL) and other Republican politicians were being covertly
     censored by Twitter in 2018, Gaetz filed a complaint with the FEC alleging the uneven treatment
     constituted an undeclared contribution to their political opponents.

     Are you an insider at Reddit or any other tech company who wants to confidentially
     reveal wrongdoing or political bias at your company? Reach out to Allum Bokhari at his
     secure email address allumbokhari@protonmail.com.

     Allum Bokhari is the senior technology correspondent at Breitbart News.
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                            There needs to be endless lawsuits.
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                                     Lycurgus the Law Giver > Guest
                                     • 3 years ago • edited
                                     What he didn't say is that if you've ever been
                                     shadow-banned for political reason (as I have half a
                                     dozen times), Facebook will do everything in its
                                     power to prevent you from becoming a politician,
                                     influencing politicians, or even being heard or seen
                                     by your own representatives, but they'll never
                                     publicly admit that they are doing so.
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                                     Zuckerburg is living proof that spineless dorks should
                                     never be allowed to run anything....
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                                              Then most companies would fold. Most large
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                            Do you spell Eric Ciaramella's last name with a "Chia"
                            instead of "Cia" just to avoid filters and censors?
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                            A leaker. Also, Epstein didn’t k!ll himself.
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                   want? Prime reason to shut Facebook down, break it into multiple
                   parts, then ban each of them for 1 full year before allowing any
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                   media small timer to start all over.
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                            The court says Trump can’t block Twitter followers. But the
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                            anyone who disagrees with them. What is the purpose of
                            the FEC if not to stop scale thumbing like this?
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                   Proverbs17-12NLT • 3 years ago
                   Sooo it's ok to no longer serve blacks at denny's?
                   9△     ▽ • Reply • Share ›

                            Rayford > Proverbs17-12NLT • 3 years ago
                            Remember Sambo's restaurants ? They all became
                            Dennys.
                            4△      ▽ • Reply • Share ›

https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   5/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    77Banned
                                                                                                      Been   of 128
                                     badger_52 > Rayford • 3 years ago
                                     Hand raised. Heh, you're dating yourself there. One
                                     FOG to another. :)
                                     3△      ▽ • Reply • Share ›

                                              Rick > badger_52 • 3 years ago
                                              They had some good food.
                                              △ ▽ • Reply • Share ›

                                              Rayford > badger_52 • 3 years ago
                                              Im not as young as I look
                                              △ ▽ • Reply • Share ›

                                     Proverbs17-12NLT > Rayford • 3 years ago
                                     Wow, we're not getting any younger are we? Yes I
                                     ate at a few of them.
                                     △ ▽ • Reply • Share ›

                            TimeTravelPundit > Proverbs17-12NLT • 3 years ago
                            What? Jim Crow's back?
                            3△      ▽ • Reply • Share ›

                                     BeholdThe2020BlueWave > TimeTravelPundit
                                     • 3 years ago
                                     Yes, the Democrats are bringing all their old ideas
                                     back. Conservative is the new black.
                                     6△      ▽ • Reply • Share ›

                            Rico > Proverbs17-12NLT • 2 years ago
                            Yes, Facebook booted Loomer because she's black.
                            △ ▽ • Reply • Share ›

                   texasgrandmom • 3 years ago
                   This really seems like blatant FEC violations.
                   6△     ▽ • Reply • Share ›

                   Abel Washington • 3 years ago
                   Zuckerberg is the Facebook nazi.

                   No Facebook for you.
                   3△     ▽ • Reply • Share ›

                   Chickie Fillette • 3 years ago
                   You get banned on Fakebook for being Republican!
                   2△     ▽ • Reply • Share ›

                   Beach girl • 3 years ago
                   Loomer was banned for NO REASON other than she kept showing
https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   6/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    78Banned
                                                                                                      Been   of 128
                   up where Hillary was and asking her why she didn't defend the
                   women her husband raped! She became a "TRUTHER" to Dems!
                   2△     ▽ • Reply • Share ›

                   EyeAm • 3 years ago
                   "Facebook has said it will not allow politicians to
                   set up new accounts on the platform if they have previously been
                   banned,
                   according to a statement obtained from the social media company
                   by
                   Breitbart News."

                   Nobody cares, Facebook. You're becoming irrelevant because of
                   your own stupidity.

                   They'll just go to GAB.com where free speech reigns.
                   2△     ▽ • Reply • Share ›

                   Maxwell • 3 years ago • edited
                   Zuckerberg better oil and pepper his Angus because the courts
                   have already made rulings regarding the free speech status of
                   political social media accounts.
                   1△     ▽ • Reply • Share ›

                   Jeff Schroer • 3 years ago
                   It’s only a matter of time before ALL republicans will be banned and
                   Democrats will get to say whatever they want!
                   1△     ▽ • Reply • Share ›

                            MojaveForks > Jeff Schroer • 3 years ago
                            That is the plan anyway.
                            △ ▽ • Reply • Share ›

                   libmodssuck • 3 years ago
                   So the mods will start banning people for conservative likes posts
                   etc so in the future they can be blacklisted if they ever run for
                   office...pretty obvious what their end game is
                   1△     ▽ • Reply • Share ›

                   Miles Monroe • 3 years ago
                   Douchebook will get its comeuppance.
                   1△     ▽ • Reply • Share ›

                   Sholver • 3 years ago
                   Facebook is just the start. A general silencing of dissent, China-
                   style, is coming.

                   We should be brave enough to follow where the people of Hong
                   Kong lead.
https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   7/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    79Banned
                                                                                                      Been   of 128
                   1△     ▽ • Reply • Share ›

                   H. Al. • 3 years ago
                   Who cares about the Fecesbook!
                   1△     ▽ • Reply • Share ›

                   far2right • 3 years ago
                   Um, none of them care about your platform.

                   Twitter is the platform for politicians.

                   They have their own websites.
                   1△     ▽ • Reply • Share ›

                   blank-stare • 3 years ago
                   Or, if they just don't like you or what you say...covers it all.
                   1△     ▽ • Reply • Share ›

                   Hannibal B • 3 years ago • edited
                   "When it was revealed that Rep. Matt Gaetz (R-FL) and other
                   Republican
                   politicians were being covertly censored by Twitter in 2018, Gaetz
                   alleging the uneven treatment constituted an undeclared
                   contribution to their political opponents."

                   Congratulations, Republicans have finally pulled their heads out
                   their ass and recognized what some have yelling about for close to
                   a decade.

                   Maybe in another decade you'll recognize that FB is abusing their
                   safe harbor privilege by altering their terms of service to mirror
                   liberal beliefs and targeting the Right for censorship for not
                   believing what liberals believe.

                   And maybe in another 10 years you'll recognize that FB doesn't
                   care that the Left violates their terms and conveniently turns a blind
                   eye to the Left attacking the Right but bans the Right when they
                   defend themselves
                                                         see more

                   1△     ▽ • Reply • Share ›

                   mion • 3 years ago
                   The rich T shirt has spoken. Socialism rules fakebook.
                   1△     ▽ • Reply • Share ›

                   Deplorable1 • 3 years ago
                   This has got to violate federal laws. It is for campaign purposes and
                   preventing a candidate from setting up a campaign site is a
                   complete violation of free speech. Facebook says they are a
                   platform not a publisher and as a platform they must allow
https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   8/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    80Banned
                                                                                                      Been   of 128
                   platform, not a publisher and as a platform they must allow
                   campaign sites to exist. Even when that site is setup by a
                   previously banned user.

                   I don't like the idea of the government regulating anything, but
                   when companies trample on our rights, it is time for the government
                   to get involved.
                   1△     ▽ • Reply • Share ›

                            tolstoink > Deplorable1 • 3 years ago
                            It's ok' They just mean REPUBLICAN politicians.
                            1△      ▽ • Reply • Share ›

                   Show Some Integrity • 3 years ago
                   It is way past time to shut down Facebook. It is a dangerous thing
                   to America and our freedom of speech.

                   Besides I detest it.
                   1△     ▽ • Reply • Share ›

                   BossBass7o7 • 3 years ago
                   ... & there it is.
                   1△     ▽ • Reply • Share ›

                   Oasis • 3 years ago
                   If you still have a FB account- Shame on you!
                   1△     ▽ • Reply • Share ›

                   Thunder Patriot • 3 years ago
                   Commiebook
                   1△     ▽ • Reply • Share ›



        ALSO ON BREITBART NEWS NETWORK




          Democracy for                            Veteran Who Survived                    Chinese
          America CEO …                            Four WWII Invasions …                   Cites Pet
          11 hours ago • 43 comments               13 hours ago • 65 comments              7 hours ago

          Sunday on ABC News' "This                A veteran named Bud                     China's Glo
          Week," Democracy for                     Clauson celebrated a huge               newspaper
          America CEO Yvette …                     milestone on Sunday …                   Schweizer




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                                        Politicians               59-2
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                                                                     on Facebook                 Page
                                                                                   They've Previously    81Banned
                                                                                                      Been   of 128

                                                    


                   MOST POPULAR
      Republicans Warn
      Democrats Will 'Pay
      the Price' for
      Spending Bill
      3,195 comments


      Senate Passes $700
      Billion 'Inflation
      Reduction' Bill
      7,839 comments



      ATR: Taxes on Fuel,
      Business, Medicines
      in 'Inflation
      Reduction Act'
      1,109 comments


      Male ‘Transgender’
      Prisoners will no
      Longer be Housed
      with Women
      156 comments


      GA Couple Arrested
      for Using Adopted
      Children in Child
      Pornography
      1,543 comments


      Donald Trump: Next
      President Must
      ‘Remove Rogue
      Bureaucrats and
      3,071 comments


      53 Shot During
      Weekend in Mayor
      Lori Lightfoot's
      Chicago
      176 comments

                                     Katharine McPhee
      Katharine McPhee
                                   Blames 'Woke' Voters
      Blames 'Woke'
                                   for Crime Wave in
https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   10/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    82Banned
                                                                                                      Been   of 128
                                    o C       e Wave
      Voters for Crime      Beverly Hills
      Wave in Beverly Hills
      245 comments

                                      Gaza Terror Rocket
      Gaza Terror Rocket
                           Lands on Palestinian
      Lands on Palestinian
      House, Kills Kids    House, Kills Kids
      Inside               Inside
      3,519 comments

                                      Democrats Poised
      Democrats Poised to
                          to Spend $3.5 Trillion
      Spend $3.5 Trillion
      with Republican     with Republican Help
      Help
      1,108 comments




                   FROM THE HOMEPAGE
        ATR: Taxes on
      Fuel, Business,
      Medicines, and More
      in ‘Inflation
      Reduction Act’

      ATR: Taxes on Fuel,
      Business, Medicines,
      and More in
      ‘Inflation Reduction
      Act’
       1,109 Comments




        Summer of Rage,
      Part V: PAC
      Launched by ‘Ruth
      Sent Us’ Organizers
      Failed to Disclose
      Finances,
      Summer of Rage,
      Part V: PAC
      Launched by ‘Ruth
      Sent Us’ Organizers
      Failed to Disclose
      Finances,
      Mysteriously
      ‘Terminated’ by FEC
       10 Comments




https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   11/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    83Banned
                                                                                                      Been   of 128

        China Holds Fresh
      Military Drills
      Around Taiwan



      China Holds Fresh
      Military Drills
      Around Taiwan
       44 Comments




        Mark Kelly Votes
      Against Amendment
      to Develop Five-
      Year-Program for
      Oil, Gas

      Mark Kelly Votes
      Against Amendment
      to Develop Five-
      Year-Program for
      Oil, Gas
       332 Comments




        Male
      ‘Transgender’
      Prisoners will no
      Longer be Housed
      with Women,
      Minister to Promise
      Male ‘Transgender’
      Prisoners will no
      Longer be Housed
      with Women,
      Minister to Promise
       156 Comments




        53 Shot During
      Weekend in Mayor
      Lori Lightfoot’s
      Chicago


      53 Shot During
      Weekend in Mayor
      Lori Lightfoot’s
      Chicago
       176 Comments




https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   12/15
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                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    84Banned
                                                                                                      Been   of 128

        Tavistock Scandal:
      Foreign Health
      Service Was Warned
      About ‘Unsafe’ Child
      Transgenderism
      Clinic in 2019
      Tavistock Scandal:
      Foreign Health
      Service Was Warned
      About ‘Unsafe’ Child
      Transgenderism
      Clinic in 2019
       25 Comments




        Chinese State
      Media Cites Peter
      Schweizer, Breitbart
      to Attack Nancy
      Pelosi

      Chinese State Media
      Cites Peter
      Schweizer, Breitbart
      to Attack Nancy
      Pelosi
       65 Comments




        Actress Katharine
      McPhee Blames
      ‘Woke’ Voters for
      Crime Wave in
      Beverly Hills

      Actress Katharine
      McPhee Blames
      ‘Woke’ Voters for
      Crime Wave in
      Beverly Hills
       245 Comments




https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   13/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    85Banned
                                                                                                      Been   of 128

        Alec Baldwin
      Bashed for
      Supporting Actress
      Anne Heche After
      Her Fiery Crash:
      ‘What About the
      Alec Baldwin Bashed
      for Supporting
      Actress Anne Heche
      After Her Fiery
      Crash: ‘What About
      the People She
      Almost Killed’
       144 Comments




        Doctors Press
      Government to
      ‘Vaccinate Faster’ as
      Monkeypox Spreads
      Across UK

      Doctors Press
      Government to
      ‘Vaccinate Faster’ as
      Monkeypox Spreads
      Across UK
       168 Comments




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8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               59-2
                                                    Won't Be Allowed      Filed If08/08/22
                                                                     on Facebook                 Page
                                                                                   They've Previously    86Banned
                                                                                                      Been   of 128

         Enes Kanter
      Freedom: White
      House Cannot
      Exchange ‘Merchant
      of Death’ for Brittney
      Griner
      Enes Kanter
      Freedom: White
      House Cannot
      Exchange ‘Merchant
      of Death’ for Brittney
      Griner
       55 Comments




        GOP Rep. Budd on
      Inflation Reduction
      Act: Dems Want to
      ‘Help Rich People
      Buy a Tesla’

      GOP Rep. Budd on
      Inflation Reduction
      Act: Dems Want to
      ‘Help Rich People
      Buy a Tesla’
       8 Comments




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 EXHIBIT 10
8/8/22, 10:41 AM     Case 3:22-cv-02646-LB      Document
                                   Facebook exempts               59-2ban on
                                                    political ads from    Filed  08/08/22
                                                                             making false claims | Page   91
                                                                                                   Facebook    of Guardian
                                                                                                            | The 128




    Facebook

        This article is more than 2 years old

    Facebook exempts political ads from ban on making
    false claims
    Firm quietly rescinds policy banning false advertising as UK
    general election looms

    Alex Hern
       @alexhern
    Fri 4 Oct 2019 08.36 EDT

    Facebook has quietly rescinded a policy banning false claims in advertising, creating a
    specific exemption that leaves political adverts unconstrained regarding how they
    could mislead or deceive, as a potential general election looms in the UK.

    The social network had previously banned adverts containing “deceptive, false or
    misleading content”, a much stronger restriction than its general rules around
    Facebook posts. But, as reported by the journalist Judd Legum, in the last week the
    rules have narrowed considerably, only banning adverts that “include claims debunked
    by third-party fact-checkers, or, in certain circumstances, claims debunked by
               i i            ih          i l                 i
https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-making-false-claims                    1/4
8/8/22, 10:41 AM     Case 3:22-cv-02646-LB      Document
                                   Facebook exempts               59-2ban on
                                                    political ads from    Filed  08/08/22
                                                                             making false claims | Page   92
                                                                                                   Facebook    of Guardian
                                                                                                            | The 128
    organisations with particular expertise”.

                                     Under Facebook’s third-party fact-checking programme, it invites
    independent organisations such as the UK’s Full Fact to verify claims posted to the
    social network. But the groups, made up mainly of small charities and nonprofits, are
    heavily constrained in how many claims they can fact-check, meaning they often only
    verify the most viral cases.


    But even that limit has been lifted for some political adverts. A separate policy
    introduced by the social network recently declared opinion pieces and satire ineligible
    for verification, including any website or page “with the primary purpose of expressing
    the opinion or agenda of a political figure”. The end result is that any direct statement
    from a candidate or campaign cannot be fact-checked and so is automatically
    exempted from policies designed to prevent misinformation. (After the publication of
    this story, Facebook clarified that only politicians currently in office or running for
    office, and political parties, are exempt: other political adverts still need to be true.)

    The changes, Legum reported, followed a run of Donald Trump adverts that contained
    false claims but were not removed under the old rules.

    The new rules could prompt a clash between Facebook and UK regulators. The
    Advertising Standards Authority does not cover political adverts in Britain, the content
    of which is largely unregulated, but it does cover all other adverts, including those
    posted on Facebook. The ASA’s code explicitly bans adverts that “materially mislead or
    [are] likely to do so”, language that is close to that used in Facebook’s previous
    policies.

    A Facebook spokesman said: “We don’t believe that it’s an appropriate role for us to
    referee political debates. Nor do we think it would be appropriate to prevent a
    politician’s speech from reaching its audience and being subject to public debate and
    scrutiny.”
    Facebook’s decision comes as the rival service TikTok takes the opposite stance. In a
    blogpost, the social network, whose reported 500 million users would make it the
    largest in the world not owned by Facebook, made clear it would not be hosting any
    political adverts.


     Q&A
     What is TikTok?
                Show

https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-making-false-claims                    2/4
8/8/22, 10:41 AM     Case 3:22-cv-02646-LB      Document
                                   Facebook exempts               59-2ban on
                                                    political ads from    Filed  08/08/22
                                                                             making false claims | Page   93
                                                                                                   Facebook    of Guardian
                                                                                                            | The 128

    “Any paid ads that come into the community need to fit the standards for our platform,
    and the nature of paid political ads is not something we believe fits the TikTok
    platform experience,” wrote Blake Chandlee, the company’s vice-president of global
    business solutions. “To that end, we will not allow paid ads that promote or oppose a
    candidate, current leader, political party or group, or issue at the federal, state, or local
    level – including election-related ads, advocacy ads, or issue ads.”

    Chandlee said the decision was prompted by TikTok’s mission “to inspire creativity
    and build joy”. That same rationale had been cited by the company, which is owned by
    the Chinese startup Bytedance, to explain why it censored posts that went against the
    political orthodoxy of Beijing, mentioning topics such as the Tiananmen Square
    killings or the independence movement in Taiwan.

    When the Guardian revealed the censorship, TikTok said the rules had since been
    repealed and replaced with ones that “take localised approaches” to “provide an app
    experience that fosters their creativity”.


      … we have a small favour to ask. Tens of millions have placed their trust in the
      Guardian’s fearless journalism since we started publishing 200 years ago, turning to
      us in moments of crisis, uncertainty, solidarity and hope. More than 1.5 million
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https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-making-false-claims                    3/4
8/8/22, 10:41 AM     Case 3:22-cv-02646-LB      Document
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                                                                             making false claims | Page   94
                                                                                                   Facebook    of Guardian
                                                                                                            | The 128


                   $7 per month                                $20 per month                                 Other



          Continue                        Remind me in September




https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-making-false-claims                    4/4
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 EXHIBIT 11
8/8/22, 10:43 AM       Case 3:22-cv-02646-LB      Document
                                     Facebook's Updated           59-2
                                                        Advertising         Filed
                                                                    Policy Could   08/08/22
                                                                                 Enable             Page
                                                                                        Politicians to Spread96  of 128
                                                                                                              Misinformation

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  Archive




  POLITICS

  Facebook's Updated Advertising Policy Could Enable Politicians to Spread
  Misinformation
  BY MEKA BOYLE ON 10/3/19 AT 5:18 PM EDT




                                     


      POLITICS          TRUMP         DONALD TRUMP         JOE BIDEN         FA C E B O O K



                                                                                                                      SUBSCRIBE FOR $1


https://www.newsweek.com/trump-biden-facebook-misleading-ads-1463054                                                                              1/8
8/8/22, 10:43 AM      Case 3:22-cv-02646-LB      Document
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                                                       Advertising         Filed
                                                                   Policy Could   08/08/22
                                                                                Enable             Page
                                                                                       Politicians to Spread97  of 128
                                                                                                             Misinformation




     Donald Trump responds to a question during the first Republican presidential debate in 2015 hosted by Fox News and Facebook in Cleveland, Ohio.
     SCOTT OLSON/GETTY IMAGES




  F           acebook's updated advertising rules could allow politicians to post ads that contain falsehoods
              without violating any of the company's terms.

  Last week the social networking site altered and thinned out its rules on misinformation so that
  politicians and political parties are exempt from fact-checking requirements.

  NEWSWEEK NEWSLETTER SIGN-UP >




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https://www.newsweek.com/trump-biden-facebook-misleading-ads-1463054                                                                                   2/8
8/8/22, 10:43 AM    Case 3:22-cv-02646-LB      Document
                                  Facebook's Updated           59-2
                                                     Advertising         Filed
                                                                 Policy Could   08/08/22
                                                                              Enable             Page
                                                                                     Politicians to Spread98  of 128
                                                                                                           Misinformation




  This change comes at the same time that President Donald Trump dramatically increased his spending
  on Facebook ads. Between September 25 and October 1 Trump spent $1,664,958 on political ads—far
  outspending any of his competitors, according to Facebook's Ad Library.

  The Trump campaign's most-circulated Facebook ad, "Biden Corruption," alleged that "Joe Biden
  promised Ukraine a billion dollars if they fired the Prosecutor investigating his son's company."

  The Democratic National Committee called on Facebook to remove the advertisement. "Any false ad
  should be fact checked and removed, including this one," said Daniel Wessel, the deputy war room
  director at the DNC, The Hill reported.




  Additionally, CNN refused to air the ad due to its misleading content as well as its direct attacks on
  three of the network's reporters.

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  The Biden collusion claim that Trump has repeatedly referenced has been deemed false by numerous
  fact checkers, including Factcheck.org and Politifact.

  When Judd Legum of Popular Information brought this up to Facebook while investigating the recent
  policy change, the company responded that its policies were not in violation because political ads are
  unable to be fact checked—a major change from a week ago when Facebook did not allow ads that
  contained "false or misleading" information, and made no exceptions for politicians.

  Up until recently Facebook stated under the category 'Prohibited Content,' in Section 13 titled
  'Misinformation,' that "ads, landing pages, and business practices must not contain deceptive, false, or
  misleading content, including deceptive claims, offers, or methods," reported Popular Information.

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  This language is absent from the updated policy. Instead, Facebook only targets "ads that include
  claims debunked by third-party fact checkers or, in certain circumstances, claims debunked by
  organizations with particular expertise."

  According to a Facebook document on fact checking, the company claimed any direct statement from
  a political candidate or campaign cannot be fact checked. Facebook asserted that a political ad is
  exempt if it "contains a claim that is not verifiable, was true at the time of writing, or from a website or
  Page with the primary purpose of expressing the opinion or agenda of a political figure."

  Travis Ridout, professor of government and public policy at Washington State University, said that
  Facebook's decision to limit the restrictions on political advertising is a way of staying out of the
  political cross hairs. "As soon as they start becoming the arbiters of what is true and what is not true,"
  he told Newsweek, "first of all they create a huge job for themselves, second of all they get attacked
  from politicians from both sides."




  Since the 2018 midterm elections, the Trump campaign spent approximately $19 million—including
  $215,585 on ads that did not come with a disclaimer connecting them to the Trump campaign.

  More than 1,800 unique ads on Trump's Facebook account mentioning impeachment ran in the last
  week of September and were viewed between 16 and 18 million times, CNN reported.

  "If Facebook has indicated that they're really not going to stop you, then it is open season and I think
  we are going to see a lot more ads like this," said Ridout.




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  POLITICS
  Zuckerberg Tells Fox News Facebook Won't Censor Politicians, While Warren Says Facebook Could Help
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  BY JEFFERY MARTIN ON 10/17/19 AT 11:25 PM EDT




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     POLITICS        MARK ZUCKERBERG              FA C E B O O K   CENSORSHIP   ELIZABETH WARREN




  I      n an advance clip of an interview set to air Friday on Fox News, Facebook CEO Mark Zuckerberg said he would
         not censor social media posts from politicians, including President Donald Trump.
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  Democratic presidential candidate Elizabeth Warren, meanwhile, condemned Facebook and Zuckerberg for earlier
  remarks via Twitter. It's the latest in a string of criticisms the senator has leveled against the company.

  "Facebook is actively helping Trump spread lies and misinformation," Warren wrote. "Facebook already helped elect
  Donald Trump once. They might do it again—and profit off of it."

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  It appeared Warren was specifically responding to an earlier speech Zuckerberg gave on Thursday at Georgetown
  University about free speech. During that speech, Zuckerberg said he didn't "think most people want to live in a world
  where you can only post things that tech companies judge to be 100 percent true."


                                              Elizabeth Warren    · Oct 17, 2019
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                                              Mark Zuckerberg's speech today shows how little he learned from
                                              2016, and how unprepared Facebook is to handle the 2020 election.




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                                                  Defiant Zuckerberg Says Facebook Won’t Police Political Speech …
                                                  In an address at Georgetown University, the Facebook chief
                                                  executive called for more free speech — not less — as his …


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                                      Facebook had a policy that didn't permit misinformation
                                      in any ads. Facebook built relationships with independent
                                      fact-checkers, so they weren't the sole deciders of what
                                      was or wasn't a lie. But Facebook undermined those
                                      relationships and excluded political ads from that policy.
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  According to a portion of the interview with Fox News host Dana Perino posted on Thursday, Zuckerberg reiterated
  similar themes, saying the company had no plans to censor Trump or politicians in general.




  "My belief is that in a democracy, I don't think that we want private companies censoring politicians in the news,"
  Zuckerberg said. "I generally believe that as a principle, people should decide what is credible and what they want to
  believe, who they want to vote for. And I don't think that should be something that we want tech companies or any
  kind of company doing."

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  Warren has previously sparred with Facebook and Zuckerberg, tweeting on Saturday that her team had intentionally
  made a political advertisement with false claims to see how quickly Facebook would run it.




                                        Facebook changed their ads policy to allow politicians to run ads

                                        with known lies—explicitly turning the platform into a

                                        disinformation-for-profit machine. This week, we decided to see

                                        just how far it goes.


                                        — Elizabeth Warren (@ewarren) October 12, 2019




  Warren has also spoken about breaking up Silicon Valley technology companies, saying the companies held too
  much power and tweeting with the hashtag "#BreakUpBigTech."




                                        Giant tech companies have too much power. My plan to

                                        #BreakUpBigTech prevents corporations like Amazon from

                                        knocking out the rest of the competition. You can be an umpire,

                                        or you can be a player—but you can’t be both. #WarrenTownHall

                                        pic.twitter.com/73y1002QVv


                                        — Elizabeth Warren (@ewarren) April 23, 2019                    LOGIN       SUBSCRIBE FOR $1

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                                        Mark Zuckerberg's speech today shows how little he learned

                                        from 2016, and how unprepared Facebook is to handle the 2020

                                        election. https://t.co/2JHCuihexR


                                        — Elizabeth Warren (@ewarren) October 18, 2019




  Warren also said on Twitter Thursday night that Facebook was "unprepared" for the 2020 election.




  Zuckerberg, meanwhile, previously threatened legal action if Warren were elected president in leaked comments. "At
  the end of the day," Zuckerberg said, according to Politico, "if someone's going to try to threaten something that
  existential, you go to the mat and you fight."

  Zuckerberg later backed off his comments slightly.

  "Maybe I said that in a little bit more unfiltered of a way than I would say it externally," Zuckerberg said, "but
  fundamentally we believe everything we said that was in there."




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    Facebook CEO Mark Zuckerberg leads a conversation on free expression at Georgetown University on October 17, 2019 in Washington, DC.
    RICCARDO SAVI/GETTY



  Zuckerberg said he still planned on treating Warren fairly.

  "Even when people disagree with what I think would be good to happen in the world, I still want to give them a voice,"
  Zuckerberg said. "That's what we're here to do."




  Warren's campaign did not immediately respond to Newsweek's request for comment on Thursday night.


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After Social Media Bans, Militant Groups Found Ways to Remain
By Sheera Frenkel and Ben Hubbard
April 19, 2019



SAN FRANCISCO — In July 2013, a broadcaster affiliated with the Islamist group Hezbollah posted a threatening video on
Facebook, YouTube and Twitter. It featured gun-toting militants practicing an ambush to kidnap Israeli soldiers. The message: This
is how we kill you.

In December, the broadcaster posted another video that showed how Hezbollah’s social media strategy had changed. This one
contained close-up footage of Israeli soldiers on patrol, with no Hezbollah members visible. The message was also dialed back: We
are watching you.

Hezbollah is among dozens of groups classified by the United States as terrorist entities that have learned how to stay a step ahead
of the social media giants. In the past, Facebook, YouTube and Twitter have taken down the official pages of these militant groups
dozens of times and banned their accounts.

But Hamas and Hezbollah, in particular, have evolved by getting their supporters to publish images and videos that deliver their
message — but that do not set off the alarm bells of the social media platforms. Today, the groups mostly post images of festive
parades and religious celebrations online, as well as videos of speeches by their leaders.

That has allowed Hamas and Hezbollah, as well as groups like the East African-based Shabab, to proliferate largely unchecked on
social media, even as a clampdown by Facebook and others has neutered the online presences of the terror organizations that are
the most threatening to the West — the Islamic State and Al Qaeda.

The change thrusts Facebook, YouTube and Twitter into complicated territory. Unlike Al Qaeda and the Islamic State, Hamas and
Hezbollah are political forces in their territories. Hamas has governance duties in the Gaza Strip, in addition to its militancy.
Hezbollah is a recognized political party in Lebanon. And by no longer posting overtly violent material, the groups arguably merit a
different treatment by the social media companies.

Facebook and others said they typically adhered to the designations set by the United States on terrorist groups, citing how any
online presence — even a seemingly innocuous or benign post — helps legitimize them and increase their visibility. Even so, it has
proved difficult for the companies to follow the rules they set for themselves, precisely because the groups can be deemed political
organizations or terrorist entities, depending on one’s perspective.

“There has to be a differentiation in the way we understand how different groups use social media,” said Lina Khatib, the head of the
Middle East and North Africa program at Chatham House, the London think tank.




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                                    Al Manar, the pro-Hezbollah media organization, has a Twitter feed.



That complexity has dismayed Israel, which has fought several wars against Hamas and Hezbollah. Since 2015, Israeli legal groups
and their partners in the United States have filed at least three lawsuits against Facebook, accusing it of turning a blind eye to how
the militant organizations use the social network.

In November, the Israel legal center Shurat HaDin, which previously had filed some of these cases, threatened to sue Facebook
again if the company continued to let a Hamas-linked broadcaster share content on the site.

“The mere fact that Hamas affiliates still have Facebook pages shows you that Facebook does not care,” said Nitsana Darshan-
Leitner, founder of Shurat HaDin, adding she would not hesitate to take her cases to the Supreme Court. “We argue that anything at
all Hamas posts is terrorist content.”




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The social media companies could face other penalties from the thriving activity of the groups and their supporters on their
networks. The European Union is considering a new law that would fine tech companies if they did not remove terrorist content
from their sites within one hour of being notified of its presence.

Brian Fishman, Facebook’s global head of counterterrorism, said the social network had zero tolerance for any group that the
United States listed as a terrorist entity. He added that the company had removed 99 percent of Islamic State and Al Qaeda content
largely by using artificial intelligence.

But Mr. Fishman also suggested that posts by organizations like Hezbollah could fall through the cracks because the groups stopped
short of issuing direct threats of violence.

“If we have to make a hard prioritization decision, we’re going to focus on stuff that directly calls for violence,” he said. “The blunt
truth is that it is very difficult” to weed out.

Twitter did not respond to questions about activity by Hezbollah and other militant groups on its service. It referred to a
transparency report detailing how it had suspended 205,156 accounts for promoting terrorism in the first half of 2018. A YouTube
spokeswoman said the company had removed channels for promoting violence or violent extremism and barred groups that the
United States labeled terrorists.

Hezbollah and Hamas did not respond to requests for comment.

The issue of militant groups on social media came to the fore in 2013 when the Islamic State grabbed global attention by posting
videos of beheadings and bombings online. The Islamic State also used the channels to spread propaganda and to recruit followers.

Groups like Hamas and Hezbollah do not primarily use social media to recruit, Ms. Khatib said, but to intimidate their enemies and
rally their supporters.




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                                    On Instagram, the photo-sharing site owned by Facebook, Arabic-language hashtags
                                    promoting Hamas feature thousands of propaganda videos and images for the group.



Tech companies said they had always barred these groups from their platforms. But the organizations continued posting to social
media anyway.

Around 2015, the tech companies started making some headway in removing Islamic State and Qaeda content, according to
counterterrorism experts. The companies created dedicated teams and used A.I. tools to find and eliminate posts from the Islamist
groups.

But the companies did not reckon with the organizations’ abilities to manipulate their platforms by posting material that went up to,
but did not cross, the line of being flagged by users or outside observers. Many of the groups also use proxies, such as media
organizations or local charities, to post content on the platforms for them.

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Hezbollah and Hamas, in particular, have honed their social media strategies to foster their online presences.

Hezbollah, which now has no official accounts on the big social media platforms, largely shares through Al Manar, a broadcaster
with strong pro-Hezbollah ties. Al Manar has a Twitter feed, which is followed by 481,000 people. Content from the channel is easy to
find on YouTube, including many lengthy speeches by Hezbollah’s leader, Hassan Nasrallah.

A recent search on YouTube for Al Manar in Arabic yielded over 37,000 results. Many of those videos have tens of thousands of
views and have been on the site for years.

Hamas enjoys a similar widespread presence on Facebook, YouTube and Twitter. The group has a Twitter feed, though not a
Facebook page or a YouTube account. Many of its leaders have personal social media accounts, where they post commentaries,
photos and videos.

The Hamas television station, Al Aqsa, also has a Twitter feed and a Facebook page. And on Instagram, the photo-sharing site
owned by Facebook, popular Arabic-language hashtags promoting Hamas feature thousands of propaganda videos and images.

When conflicts with Israel escalate, Hamas’s presence on social media also rises. In August, Israel accused Hamas members of
posing as attractive women on Instagram to lure Israeli soldiers into sharing details about themselves and to download malware.

Israel called the campaign Operation Broken Heart. It showed, Israeli officials said, how dangerous it was to allow militant
organizations to use social media.




https://www.nytimes.com/2019/04/19/technology/terrorist-groups-social-media.html                                                   5/5
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    TECHNOLOGY
    Twitter takes down Hamas, Hezbollah-affiliated accounts after
    lawmaker pressure
    BY EMILY BIRNBAUM - 11/04/19 12:39 PM ET




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    Twitter has taken down several accounts affiliated with Hamas and Hezbollah after facing
    public pressure from a group of bipartisan lawmakers who accused the platform of flouting
    U.S. law.

    Twitter’s decision to begin purging accounts associated with “foreign terrorist
    organizations” is a pivot from its earlier stance of keeping some Hamas and Hezbollah-
    affiliated accounts online.

    {mosads}Over the weekend, Twitter removed several English-language and Arabic
    accounts associated with Hamas and Hezbollah’s news and political arms after vowing to
    “review” accounts highlighted by Reps. Josh Gottheimer (D-N.J.), Tom Reed (R-N.Y.), Max Rose
    (D-N.Y.) and Brian Fitzpatrick (R-Pa.) last month.




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    Twitter has also blocked a news account associated with the Houthi movement in
    Yemen, called “The Central Warfare Channel,” according to an Iranian news outlet.

    The lawmakers first raised their concerns about the Hamas and Hezbollah accounts in a letter
    to Twitter in September, and then held a public press conference decrying Twitter’s stance
    last month when the platform declined to take down the accounts.

    “My colleagues and I were outraged when [Twitter] first responded to us — contrary to
    Facebook and Google, [Twitter] insisted that they were going to keep up the content of
    … Hezbollah and Hamas,” Gottheimer told The Hill in a phone interview from his district on
    Monday.

    “To me, it’s essential that they’ve taken these steps to scrape the content and the handles of
    foreign terrorist organizations off their site,” Gottheimer said.

    But, he added, the lawmakers are remaining “vigilant” as they seek to ensure “this is not a one-
    off but actually a change in policy.”

    In a letter last month, Twitter’s U.S. Policy Director Carlos Monje Jr. told the lawmakers that the
    platform allows accounts associated with the political arms of groups designated by the U.S.
    as “foreign terrorist organizations,” though it does not allow their military wings to have a
    presence on the platform.

    Monje also noted that Twitter allows groups engaged in active peace resolution processes to
    remain online, as well as groups that have been elected to public office.

    The Hamas administration was elected to serve as the governing body of the Gaza Strip over a
    decade ago, and Hezbollah has been a legitimate part of the government in Lebanon since
    2005. Though the U.S. and other Western countries have designated both Hamas and
    Hezbollah as terrorist organizations, both groups have political arms that are responsible for
    representing large swaths of people and providing social services in Palestinian territory and
    Lebanon, respectively. Hamas has been involved in continual negotiations with the Israeli
    government and the Palestine Liberation Organization for years.

    Gottheimer and the other lawmakers made Monje’s letter public and held a press conference
    to press the platform on the issue late last month, pointing out it is largely illegal for U.S.
    businesses to engage with groups designated as “foreign terrorist organizations.”

    And in a letter dated Nov. 1, Monje seemed to agree with their assessment, writing, “If Twitter
    identifies an account as affiliated with Hamas or Hizballah, Twitter’s policy is to terminate that
    account. We are in the process of reviewing the accounts identified in your letter and if we
    confirm that they are foreign terrorist organization accounts, they will be terminated.”

    A Twitter spokesperson declined to comment on whether there has been a formal policy
    change, but said in a statement to The Hill, “We have a long history of taking strong
    enforcement action, using a combination of people, partnerships, and technology.”



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    Between January to June 2019, Twitter said it suspended 115,861 accounts for promoting
    terrorism, a decrease of 30 percent from the year before. Eighty-seven percent of those
    accounts were flagged by Twitter’s internal artificial intelligence tools.

    “We did push them to take action and they did,” Gottheimer told The Hill. “I guarantee you
    between our teams and outside organizations, we will keep a watchful eye on their activity.”

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